 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.1 Page 1 of 146



                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN


JANE DOE AC,
                                                   Case no. 18-cv-
       Plaintiff,                                  Hon.

-vs-

MICHIGAN STATE UNIVERSITY;
THE BOARD OF TRUSTEES OF                            COMPLAINT AND
MICHIGAN STATE UNIVERSITY;                           JURY DEMAND
MSU SPORTSMEDICINE;
LAWRENCE G. NASSAR, D.O., individually
and in his official capacity; WILLIAM D.
STRAMPEL, D.O., individually and in his
official capacity; JEFFREY R. KOVAN, D.O.,
individually and in his official capacity;
LOU ANNA SIMON, individually and in her
official capacity,

     Defendants.
__________________________________________________________________/

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                                     1
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.2 Page 2 of 146



                     COMPLAINT AND JURY DEMAND

      NOW COMES the Plaintiff, JANE DOE AC, by and through her attorneys,

VANDEVEER GARZIA, P.C., and in support of her Complaint against the

Defendants, states as follows:

                  PARTIES, JURISDICTION, AND VENUE

      1.    This is a civil action for equitable, injunctive, declaratory, and

monetary relief for injuries sustained by Plaintiff, JANE DOE AC, as a direct and

proximate result of acts, omissions, and/or conduct of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, LAWRENCE G. NASSAR, D.O., WILLIAM D. STRAMPEL,

D.O., JEFFREY R. KOVAN, D.O., and LOU ANNA SIMON, and/or their

employees, agents, and/or representatives, related to the sexual assault, battery,

molestation, harassment, and discrimination of Plaintiff, JANE DOE AC, including

when she was a minor child, on the campus of Defendant, MICHIGAN STATE

UNIVERSITY, and the systematic failure, negligence, gross negligence, and

deliberate indifference of the individuals and institutions of authority who knew or

should have known of the ongoing pattern, practice, scheme, and/or conduct of

sexual assault, battery, molestation, harassment, and discrimination, of young

women, including minors, taking place on the campus of Defendant, MICHIGAN

STATE UNIVERSITY, for nearly two decades.

                                         2
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.3 Page 3 of 146



      2.    The name of Plaintiff, JANE DOE AC, has been withheld from this

Complaint to protect her identity because the present claims relate to the sexual

assault of Plaintiff, JANE DOE AC, which began when she was a minor child.

      3.    Plaintiff, JANE DOE AC, will seek an appropriate Protective Order

regarding the disclosure of the identity of JANE DOE AC.

      4.    Plaintiff, JANE DOE AC, is an adult female, who is, and at all times

pertinent hereto was, a resident of the County of Genesee, State of Michigan.

      5.    Defendant, MICHIGAN STATE UNIVERSITY, is, and at all times

pertinent hereto was, a state-owned and operated public university organized and

existing under the Constitution of Michigan of 1963, Art. VIII, and the laws of the

State of Michigan.

      6.    Defendant, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, is, and all times pertinent hereto was, a body corporate with

general supervision of Defendant, MICHIGAN STATE UNIVERSITY, and the

control and direction of all expenditures from Defendant MICHIGAN STATE

UNIVERSITY’S funds, organized and existing under the Constitution of Michigan

of 1963, Art. VIII, § 5, and the laws of the State of Michigan. As set forth on its

website, “THE PEOPLE OF MICHIGAN, through the State Constitution,

established the Michigan State University Board of Trustees to develop a free and

distinguished University -- to promote the welfare of humanity through teaching,


                                         3
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.4 Page 4 of 146



research and service.” See “Establishment of the Board of Trustees,” msu.edu

(April 3, 2018), available at https://trustees.msu.edu/about/establishment.html.

      7.     Upon information and belief, Defendant, MSU SportsMEDICINE, is,

and at all times pertinent hereto was, a department of Defendant, MICHIGAN

STATE UNIVERSITY, and/or an entity with its principal place of business on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, in the County of

Ingham, State of Michigan.

      8.     Upon information and belief, Defendant, LAWRENCE G. NASSAR,

is, and at all times pertinent hereto was, a resident of the County of Ingham, State

of Michigan.    Upon information and belief, Defendant NASSAR is currently

incarcerated in federal prison in Tucson, Arizona. At all times pertinent hereto,

Defendant NASSAR was an employee of Defendant, MICHIGAN STATE

UNIVERSITY, and a Doctor of Osteopathic Medicine at Defendant, MSU

SportsMEDICINE.

      9.     Upon information and belief, Defendant, WILLIAM D. STAMPEL,

is, and at all times pertinent hereto was, a resident of the State of Michigan. Upon

information and belief, at all times pertinent hereto, Defendant STRAMPEL was

an employee of Defendant, MICHIGAN STATE UNIVERSITY, and the Dean of

the College of Osteopathic Medicine at Defendant, MICHIGAN STATE

UNIVERSITY. Defendant STRAMPEL’s position as Dean was created by State


                                         4
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.5 Page 5 of 146



statute set forth in MCL 390.661, which requires that “[t]he dean shall be

responsible for the development and maintenance of the school in osteopathic

medicine.” Upon information and belief, at all times pertinent hereto, Defendant

STRAMPEL was in a supervisory position as it relates to Defendant NASSAR.

      10.   Upon information and belief, Defendant, JEFFREY R. KOVAN, is,

and at all times pertinent hereto was, a resident of the State of Michigan. Upon

information and belief, at all times pertinent hereto, Defendant KOVAN was an

employee of Defendant, MICHIGAN STATE UNIVERSITY, and the Director of

Defendant, MSU SportsMEDICINE. Upon information and belief, at all times

pertinent hereto, Defendant KOVAN was in a supervisory position as it relates to

Defendant NASSAR.

      11.   Upon information and belief, Defendant, LOU ANNA SIMON, is,

and at all times pertinent hereto was, a resident of the State of Michigan. Upon

information and belief, Defendant SIMON was the President of Defendant,

MICHIGAN STATE UNIVERSITY, from June 8, 2004 to January 24, 2018,

including at all times pertinent hereto. Upon information and belief, Defendant,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, appointed

and/or elected Defendant SIMON as President pursuant to the Constitution of

Michigan of 1963, Art. VIII, § 5, and the laws of the State of Michigan. Upon




                                       5
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.6 Page 6 of 146



information and belief, at all times pertinent hereto, Defendant SIMON was in a

supervisory position as it relates to Defendant NASSAR.

      12.     This Honorable Court has subject matter jurisdiction over this matter

pursuant to 28 U.S.C. § 1331, federal question jurisdiction, as this is a civil action

arising under the Constitution, laws, or treaties of the United States.

      13.     Specifically, the Plaintiff, JANE DOE AC, brings claims arising under

the 14th Amendment to the United States Constitution, as well as under Title IX of

the Education Act of 1972, 20 U.S.C. §§ 1681–1688, and 42 U.S.C. § 1983.

      14.     Further, this Court has subject matter jurisdiction over this matter

pursuant to 28 U.S.C. § 1343, which grants this Court original jurisdiction “[t]o

redress the deprivation, under color of any State law, statute, ordinance, regulation,

custom or usage, of any right, privilege or immunity secured by the Constitution of

the United States or by any Act of Congress providing for equal rights of citizens

or of all persons within the jurisdiction of the United States[.]” See 28 U.S.C. §

1343(a)(3).

      15.     This Court has supplemental jurisdiction over the pendant State law

claims set forth herein pursuant to 28 U.S.C. § 1367(a).

      16.     The amount in controversy exceeds $75,000.




                                           6
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.7 Page 7 of 146



      17.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) as the

events or omissions giving rise to the claims occurred in this judicial district as set

forth herein, in the County of Ingham, State of Michigan.

      18.    Plaintiff, JANE DOE AC, filed a NOTICE OF INTENT TO FILE

CLAIM PURSUANT TO MCL 600.6431 on February 28, 2018.


                           GENERAL ALLEGATIONS

      19.    Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 18, as though fully set forth herein.

      20.    At all times pertinent hereto, Defendant NASSAR maintained an

office on the campus of Defendant, MICHIGAN STATE UNIVERSITY.

      21.    At all times pertinent hereto, Defendant NASSAR was an employee,

representative, and/or agent of Defendant, MICHIGAN STATE UNIVERSITY,

acting under the control and supervision of Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON.

      22.    Defendant, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, prominently sets forth its supervisory role in the governance of

Defendant, MICHIGAN STATE UNIVERSITY, on its website, as follows: “To

meet the directives, the Constitution grants the Board general supervision of the

institution, including control and direction of all its expenditures and final
                                          7
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.8 Page 8 of 146



authority in its government.” See “Establishment of the Board of Trustees,”

msu.edu           (April          3,          2018),           available             at

https://trustees.msu.edu/about/establishment.html (emphasis added).

      23.    Ultimately, “the directives call for a commitment to excellence.” Id.

      24.    Further, its website explains that “[t]he Board delegates responsibility

to the University’s president, and through the president to officers and the faculty,

and delegates appropriate authority and jurisdiction over matters for which they are

held accountable by the Board.” Id.

      25.    Upon information and belief, at all times pertinent hereto, Defendant,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, was in a

supervisory position as it relates to Defendant NASSAR.

      26.    Upon information and belief, at all times pertinent hereto, Defendant,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, had

“control and direction” and “final authority” over the supervision, training,

oversight, investigation, discipline, employment decisions, and retention related to

Defendant NASSAR.

      27.    Upon information and belief, Defendant, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, delegated supervisory

authority and responsibility to Defendants, LOU ANNA SIMON, WILLIAM D.

STAMPEL, and JEFFREY R. KOVAN, over the supervision, training, oversight,


                                         8
 Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.9 Page 9 of 146



investigation, discipline, employment decisions, and retention related to Defendant

NASSAR.

      28.     Upon information and belief, Defendants, SIMON, STRAMPEL, and

KOVAN actually had control, supervisory authority, and responsibility over the

supervision, training, oversight, investigation, discipline, employment decisions,

and retention related to Defendant NASSAR.

      29.     At all times pertinent hereto, Defendant NASSAR held himself out to

the public as and/or was acting within the scope of his employment, agency, and/or

representation with Defendants, MICHIGAN STATE UNIVERSITY, THE

BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, and MSU

SportsMEDICINE.

      30.     At all times pertinent hereto, Defendant NASSAR was acting with the

express     and/or   implicit   consent   of   Defendants,   MICHIGAN      STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON.

      31.     At all times pertinent hereto, Defendant NASSAR maintained an

office and practiced osteopathic medicine at Defendant, MSU SportsMEDICINE,

on the campus of Defendant, MICHIGAN STATE UNIVERSITY.

      32.     At all times pertinent hereto, Defendant NASSAR was not a doctor of

obstetrics or gynecology.


                                          9
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.10 Page 10 of 146



        33.   Plaintiff, JANE DOE AC, was a patient of Defendant NASSAR from

2007 to November of 2015.

        34.   Starting at a young age, Plaintiff, JANE DOE AC, was a competitive

figure skater.

        35.   At the age of 15, Plaintiff, JANE DOE AC, presented for the first time

to Defendant NASSAR on the campus of Defendant, MICHIGAN STATE

UNIVERSITY, for medical treatment related to a stress fracture in her low-mid

back.

        36.   It had been represented to Plaintiff, JANE DOE AC, that Defendant

NASSAR was the preeminent sports medicine physician in the area.

        37.   Upon information and belief, at the direction of Defendant NASSAR,

the staff at Defendants, MICHIGAN STATE UNIVERSITY and/or MSU

SportsMEDICINE, advised Plaintiff, JANE DOE AC, to wear baggy, loose-fitting

clothing to her appointments with Defendant NASSAR.

        38.   Under the guise of medical treatment, Defendant NASSAR sexually

assaulted, battered, molested, harassed, stalked, and terrorized Plaintiff, JANE

DOE AC, on the campus of Defendant, MICHIGAN STATE UNIVERSITY.

        39.   At the offices of Defendant, MSU SportsMEDICINE, and on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, Defendant NASSAR

touched, grabbed, massaged, and fondled Plaintiff JANE DOE AC’s breasts with


                                         10
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.11 Page 11 of 146



his bare hands over her clothes without notice, permission, or consent, including

when she was a minor child, under the guise of medical treatment.

      40.    At the offices of Defendant, MSU SportsMEDICINE, and on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, Defendant NASSAR

touched, grabbed, massaged, and fondled Plaintiff JANE DOE AC’s breasts with

his bare hands under her bra without notice, permission, or consent, including

when she was a minor child, under the guise of medical treatment.

      41.    At the offices of Defendant, MSU SportsMEDICINE, and on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, Defendant NASSAR

touched, prodded, and contacted Plaintiff JANE DOE AC’s pelvic area with his

bare hands without notice, permission, or consent, including when she was a minor

child, under the guise of medical treatment.

      42.    At the offices of Defendant, MSU SportsMEDICINE, and on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, while Plaintiff, JANE

DOE AC, was lying on her stomach on an examination table, Defendant NASSAR

digitally penetrated Plaintiff JANE DOE AC’s vagina with at least two fingers

without notice, permission, or consent, including when she was a minor child,

under the guise of medical treatment.

      43.    On the first occasion, Defendant NASSAR wore gloves and used

lubricant.


                                         11
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.12 Page 12 of 146



      44.    On every occasion thereafter, Defendant NASSAR did not wear

gloves.

      45.    On several occasions, Defendant NASSAR’s conduct caused Plaintiff,

JANE DOE AC, to experience vaginal spotting.

      46.    On at least one occasion, Defendant NASSAR’S conduct caused

Plaintiff, JANE DOE AC, to experience bleeding from her vagina.

      47.    Defendant NASSAR’s conduct often started with a gratuitous back

massage, also performed without notice, permission, or consent, while Plaintiff,

JANE DOE AC, laid on an examination table on her stomach, including when she

was a minor child.

      48.    In the midst of the gratuitous back massage, Defendant NASSAR

abruptly and without notice, permission, or consent, digitally penetrated Plaintiff

JANE DOE AC’s vagina, including when she was a minor child.

      49.    The above-described conduct of Defendant NASSAR served no

legitimate medical purpose and was only performed for the sexual gratification

and/or prurient interests of Defendant NASSAR.

      50.    As a result of Defendant NASSAR’s conduct, Plaintiff, JANE DOE

AC, developed an eating disorder, among other psychological injuries.

      51.    Defendant NASSAR became aware of Plaintiff JANE DOE AC’s

eating disorder.


                                        12
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.13 Page 13 of 146



      52.    With full knowledge of her eating disorder, Defendant NASSAR

made derogatory and sexually suggestive comments to Plaintiff, JANE DOE AC,

about her weight and physical appearance, including when she was a minor child.

      53.    With full knowledge of her eating disorder, Defendant NASSAR

made derogatory comments to Plaintiff, JANE DOE AC, about her weight,

including that she “needed to work out more” when she had gained weight,

including when she was a minor child.

      54.    Under the guise of providing “special treatment” to Plaintiff, JANE

DOE AC, Defendant NASSAR requested that Plaintiff, JANE DOE AC, add him

as a “friend” on Facebook, the social media network, which occurred when

Plaintiff, JANE DOE AC, was a minor child.

      55.    Defendant NASSAR told Plaintiff, JANE DOE AC, to “private

message” him anytime that she needed an appointment.

      56.    Defendant NASSAR told Plaintiff, JANE DOE AC, a minor child at

the time, that this was “special treatment” that he did not provide to other patients.

      57.    Upon information and belief, Defendant NASSAR carried out the

same or similar pattern, practice, scheme, and/or conduct of sexually assaulting,

battering, molesting, harassing, stalking, and terrorizing other young women,

including minors, under the guise of medical treatment, during his employment




                                          13
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.14 Page 14 of 146



with Defendant, MICHIGAN STATE UNIVERSITY, from approximately 1996 to

2016.

        58.   Upon information and belief, allegations against Defendant NASSAR

for the same and/or similar pattern, practice, scheme, and/or conduct of sexually

assaulting, battering, molesting, harassing, stalking, and terrorizing young women,

including minors, had been reported to Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, and KOVAN, and/or their

employees, representatives, and/or agents, in 1999.

        59.   Accordingly,    as   of   1999,   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, and KOVAN, and/or their

employees, representatives, and/or agents, had actual and/or constructive notice of

and/or actual and/or constructive knowledge of Defendant NASSAR’s pattern,

practice, scheme, and/or conduct of sexually assaulting, battering, molesting,

harassing, stalking, and terrorizing young women, including minors, under the

guise of medical treatment.

        60.   Upon information and belief, allegations against Defendant NASSAR

for the same and/or similar pattern, practice, scheme, and/or conduct of sexually

assaulting, battering, molesting, harassing, stalking, and terrorizing young women,


                                          14
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.15 Page 15 of 146



including minors, under the guise of medical treatment, had been reported to

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

and KOVAN, and/or their employees, representatives, and/or agents, again, in

2000.

        61.   Accordingly,    as   of   2000,   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, and KOVAN, and/or their

employees, representatives, and/or agents, had actual and/or constructive notice of

and/or actual and/or constructive knowledge of Defendant NASSAR’s pattern,

practice, scheme, and/or conduct of sexually assaulting, battering, molesting,

harassing, stalking, and terrorizing young women, including minors, under the

guise of medical treatment.

        62.   Upon information and belief, allegations against Defendant NASSAR

for the same and/or similar pattern, practice, scheme, and/or conduct of sexually

assaulting, battering, molesting, harassing, stalking, and terrorizing young women,

including minors, under the guise of medical treatment, had been reported to

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,




                                          15
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.16 Page 16 of 146



KOVAN, and SIMON, and/or their employees, representatives, and/or agents,

again, in 2014.

      63.   On    each    occasion,   the    Defendants,   MICHIGAN        STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women,

including when these young women were minors, but failed to do so,

demonstrating conduct so reckless as to demonstrate a substantial lack of concern

for whether an injury results, as well as demonstrating deliberate indifference,

negligence, and gross negligence.

      64.   As a direct and proximate result of the conduct, acts, omissions,

and/or failures of the Defendants, MICHIGAN STATE UNIVERSITY, THE

BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, Defendant NASSAR had the opportunity to and

actually did continue his pattern, practice, scheme, and/or conduct of sexually

assaulting, battering, molesting, harassing, stalking, and terrorizing young women,




                                        16
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.17 Page 17 of 146



including Plaintiff, JANE DOE AC, including when they were minors, under the

guise of medical treatment.

      65.    Regarding the allegations against Defendant NASSAR in 2014, upon

information and belief, the Defendants, MICHIGAN STATE UNIVERSITY, THE

BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, failed to properly investigate and/or take corrective

action to prevent Defendant NASSAR from continuing his pattern, practice,

scheme, and/or conduct of sexually assaulting, battering, molesting, harassing,

stalking, and terrorizing young women, including Plaintiff, JANE DOE AC.

      66.    Upon information and belief, following the 2014 investigation, the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, placed additional requirements on Defendant NASSAR’s

practice.

      67.    Upon information and belief, Defendant STRAMPEL sent Defendant

NASSAR a response email dated July 30, 2014 (Exhibit A), with the knowledge

of and/or at the direction of Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, KOVAN, and SIMON, and/or their employees, agents, and/or


                                         17
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.18 Page 18 of 146



representatives, which included a recitation of additional requirements for

Defendant NASSAR’s practice, including as follows:

            a.     “We will have another person, (resident, nurse, etc) in the room

                   whenever we are approaching a patient to perform procedures

                   of anything close to a sensitive area.”

            b.     “The procedure which caused the patient emotional distress

                   because of her interpretation will be modified in the future to be

                   sure that there is little to no skin contact when in these regions.

                   Should this be absolutely necessary, the procedure will be

                   explained in detail with another person in the room for both the

                   explanation and the procedure.”

            c.     “Now people in our practice will be oriented to be sure they

                   understand these requirements.”

(See Exhibit A)

      68.   Upon information and belief, Defendant STRAMPEL further stated

that “I am happy this has resolved to some extent and I am happy to have you back

in full practice.” (See Exhibit A)

      69.   Upon information and belief, the “subject” line of the email stated

“RE: My situation,” indicating that Defendant STRAMPEL’s email was a




                                         18
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.19 Page 19 of 146



“response” to an email from Defendant NASSAR titled “My situation.” (See

Exhibit A)

      70.    Upon information and belief, Defendant NASSAR failed to comply

with these additional institutional requirements.

      71.    Upon information and belief, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, agents, and/or representatives, failed to enforce these

additional institutional requirements and/or demonstrated deliberate indifference as

to whether the additional institutional requirements were enforced and/or whether

Defendant NASSAR complied with the additional institutional requirements.

      72.    As a direct result of the failure of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, agents, and/or representatives, Defendant NASSAR had

the opportunity to and actually did continue the same or similar pattern, practice,

scheme, and/or conduct of sexually assaulting, battering, molesting, harassing,

stalking, and terrorizing other young women, including Plaintiff, JANE DOE AC,

under the guise of medical treatment, during his employment with Defendant,

MICHIGAN STATE UNIVERSITY, and under the direct supervision and control


                                         19
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.20 Page 20 of 146



of Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON.

      73.   Upon information and belief, each Defendant, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, knew or should have known

of the pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women such as Plaintiff,

JANE DOE AC, including when these young women were minors, under the guise

of medical treatment.

      74.   Upon information and belief, again, the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, were made aware of

Defendant NASSAR’s conduct in 1999, 2000, and 2014.

      75.   The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF    MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, had a duty to report and/or prevent the pattern,


                                        20
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.21 Page 21 of 146



practice, scheme, and/or conduct of Defendant NASSAR to sexually assault,

batter, molest, harass, stalk, and terrorize young women such as Plaintiff, JANE

DOE AC, including when these young women were minors.

      76.    The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN         STATE       UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, had a duty to protect the public, including Plaintiff,

JANE DOE AC, from the pattern, practice, scheme, and/or conduct of Defendant

NASSAR to sexually assault, batter, molest, harass, stalk, and terrorize young

women, including minor children, under the guise of medical treatment.

      77.    The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN         STATE       UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, had a duty to warn the public, including Plaintiff,

JANE DOE AC, about the pattern, practice, scheme, and/or conduct of Defendant

NASSAR to sexually assault, batter, molest, harass, stalk, and terrorize young

women, including minor children, under the guise of medical treatment.

      78.    The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN         STATE       UNIVERSITY,         MSU




                                         21
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.22 Page 22 of 146



SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, breached said duties.

      79.     The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN         STATE       UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, failed to report and/or prevent the pattern, practice,

scheme, and/or conduct of Defendant NASSAR to sexually assault, batter, molest,

harass, stalk, and terrorize young women such as Plaintiff, JANE DOE AC,

including when these young women were minors, demonstrating conduct so

reckless as to demonstrate a substantial lack of concern for whether an injury

results, as well as demonstrating deliberate indifference, negligence, and gross

negligence.

      80.     As a direct result of the failure of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, to report and/or prevent the

pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women, Plaintiff, JANE

DOE AC, was sexually assaulted, battered, molested, harassed, stalked, and

terrorized by Defendant NASSAR, including when she was a minor child.


                                         22
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.23 Page 23 of 146



      81.   Upon information and belief, on or about November 21, 2016,

Defendant NASSAR was arrested and charged with several counts related to

criminal sexual conduct with a person under the age of 13.

      82.   Defendant NASSAR was also later charged with and sentenced for

possession of child pornography.

      83.   Upon information and belief, in January of 2018, more than 100

victims of Defendant NASSAR testified and provided victim impact statements at

a sentencing hearing of Defendant NASSAR.

      84.   Upon information and belief, Defendant NASSAR is currently serving

a lengthy prison sentence of approximately 40 to 125 years in federal prison.

      85.   Outrageously, upon information and belief, it was not until January

19, 2018, that Defendant, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, requested the Michigan Department of Attorney General to

investigate the allegations against Defendant NASSAR that had taken place on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, for two decades. (See

Exhibit B, Affidavit in Support of Complaint of Ryan Pennel, at 1)

      86.   Five days later, on or about January 24, 2018, Defendant, SIMON,

resigned from her position as President of Defendant, MICHIGAN STATE

UNIVERSITY.




                                        23
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.24 Page 24 of 146



      87.    The following week, on or about February 2, 2018, pursuant to a

search warrant, special investigators from the Michigan Department of Attorney

General “retrieved a computer from [Defendant] Strampel’s office located in Fee

Hall” on the campus of Defendant, MICHIGAN STATE UNIVERSITY. (See

Exhibit B, Affidavit, at 4)

      88.    Upon information and belief, on or about February 9, 2018, Ms. Carol

Viventi, Vice President and Special Counsel to the President of Defendant,

MICHIGAN STATE UNIVERSITY, requested the dismissal of Defendant,

WILLIAM D. STRAMPEL, “for cause.”

      89.    Upon information and belief, a basis for Ms. Viventi’s request was

Defendant STRAMPEL’s failure to properly supervise Defendant NASSAR and/or

enforce the additional institutional requirements set forth in the email of Exhibit

A.

      90.    Upon information and belief, on or about February 15, 2018, the work

computer of Defendant STRAMPEL was submitted to the Criminal Division of the

Michigan Department of Attorney General for “expert forensic examination.” (See

Exhibit B, Affidavit, at 4)

      91.    Details set forth in the Affidavit of Ryan Pennel, Detective First

Lieutenant with the Michigan State Police, attached as Exhibit B, demonstrate that

Defendant STRAMPEL was fully aware of Defendant NASSAR’s pattern,


                                        24
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.25 Page 25 of 146



practice, scheme, and/or conduct to sexually assault, batter, molest, harass, stalk,

and terrorize young women, including Plaintiff, JANE DOE AC, including when

she was a minor child, under the guise of medical treatment.

      92.   In fact, as alleged in the Affidavit of Ryan Pennel, a forensic

examination of Defendant STRAMPEL’s work computer uncovered “a video of

Dr. Larry Nassar performing ‘treatment’ on a young female patient.” (See Exhibit

B, Affidavit of Ryan Pennel, at 4)

      93.   It is further alleged that the forensic examination of Defendant

STRAMPEL’S work computer also uncovered nude photos of women and

pornographic videos, among other sexually explicit material. (See Exhibit B,

Affidavit of Ryan Pennel, at 4)

      94.   Upon information and belief, on or about March 26, 2018, Defendant

STRAMPEL was arrested and charged with Misconduct of a Public Official, a

felony, Criminal Sexual Assault – Fourth Degree (Force or Coercion), Public

Officer Wilful Neglect of Duty. (See Exhibit B, Complaint Felony, People v.

Strampel, Case no. 18-0472-FY)

      95.   As of the date of this filing, the felony and misdemeanor criminal

charges against Defendant STRAMPEL are still pending.




                                        25
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.26 Page 26 of 146



   COUNT I – VIOLATION OF 14TH AMENDMENT TO THE UNITED
             STATES CONSTITUTION – DUE PROCESS
                  AGAINST ALL DEFENDANTS

         96.    Plaintiff, JANE DOE AC, hereby restates, realleges, and

incorporates by reference paragraphs 1 through 431, as though fully set forth

herein.

         97.   Plaintiff, JANE DOE AC, has a constitutionally protected Due

Process right to be free from the invasion of bodily integrity through sexual

assault, abuse, or molestation.

         98.   Plaintiff, JANE DOE AC, is a female and member of a protected

class.

         99.   The Due Process Clause of the Fourteenth Amendment to the United

States Constitution protects the right of an individual, including a minor child, to

be free from sexual assault, abuse, or molestation.

         100. Sexual abuse under color of law is so contrary to the fundamental

notions of liberty and fairness and completely lacking in any redeeming value to

society that no rational individual could believe that sexual abuse is

constitutionally permissible under the Due Process Clause.

         101. At all relevant times, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and


                                         26
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.27 Page 27 of 146



SIMON, and/or their employees, representatives, and/or agents, were acting under

color of law, to wit, under color of statutes, ordinances, regulations, policies,

customs, and usages of the State of Michigan and/or Defendant, MICHIGAN

STATE UNIVERSITY.

      102. As     set   forth   herein,   the   Defendants,   MICHIGAN       STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, violated the

constitutionally protected due process right of Plaintiff, JANE DOE AC, to be free

from the invasion of bodily integrity through sexual assault, abuse, or molestation.

      103. As     set   forth   herein,   the   Defendants,   MICHIGAN       STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had actual knowledge of

and/or knew or should have known of the pattern, practice, scheme, and/or conduct

of Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and

terrorize young women such as Plaintiff, JANE DOE AC, including when these

young women were minors.

      104. As     set   forth   herein,   the   Defendants,   MICHIGAN       STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE


                                          27
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.28 Page 28 of 146



UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women such as

Plaintiff, JANE DOE AC, including when these young women were minors, but

failed to do so, demonstrating conduct so reckless as to demonstrate a substantial

lack of concern for whether an injury results, as well as demonstrating deliberate

indifference, negligence, and gross negligence.

      105. Upon information and belief, the duty of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, to report and/or prevent the

pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women such as Plaintiff,

JANE DOE AC, including when these young women were minors, was not

discretionary.

      106. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, violated clearly established statutory


                                        28
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.29 Page 29 of 146



and constitutional rights of Plaintiff, JANE DOE AC, of which a reasonable person

would have known.

      107. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, as described herein is not substantially

and/or rationally related to any legitimate governmental objective and/or interest.

      108. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      109. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,


                                         29
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.30 Page 30 of 146



irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

   COUNT II – VIOLATION OF 14TH AMENDMENT TO THE UNITED
         STATES CONSTITUTION – EQUAL PROTECTION
                   AGAINST ALL DEFENDANTS

      110. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      111. Plaintiff, JANE DOE AC, has a constitutionally protected Equal

Protection right to be free from intentional discrimination because of her sex by a

person acting under color of law.


                                           30
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.31 Page 31 of 146



         112. Plaintiff, JANE DOE AC, is a female and member of a protected

class.

         113. The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution protects the right of a woman, such as Plaintiff, JANE

DOE AC, to be free from intentional discrimination because of her sex by a person

acting under color of law.

         114. Intentional discrimination because of an individual’s sex under color

of law is so contrary to the fundamental notions of liberty and fairness and

completely lacking in any redeeming value to society that no rational individual

could believe that sexual abuse is constitutionally permissible under the Equal

Protection Clause.

         115. At all relevant times, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, were acting under

color of law, to wit, under color of statutes, ordinances, regulations, policies,

customs, and usages of the State of Michigan and/or Defendant, MICHIGAN

STATE UNIVERSITY.

         116. As    set   forth   herein,   the   Defendants,   MICHIGAN   STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE


                                            31
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.32 Page 32 of 146



UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, violated the

constitutionally protected equal protection right of Plaintiff, JANE DOE AC, to be

free from intentional discrimination because of her sex by a person acting under

color of law.

      117. As     set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had actual knowledge of

and/or knew or should have known of the pattern, practice, scheme, and/or conduct

of Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and

terrorize young women such as Plaintiff, JANE DOE AC, including when these

young women were minors.

      118. As     set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women such as

Plaintiff, JANE DOE AC, including when these young women were minors, but


                                          32
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.33 Page 33 of 146



failed to do so, demonstrating conduct so reckless as to demonstrate a substantial

lack of concern for whether an injury results, as well as demonstrating deliberate

indifference, negligence, and gross negligence.

      119. Upon information and belief, the duty of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, to report and/or prevent the

pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women such as Plaintiff,

JANE DOE AC, including when these young women were minors, was not

discretionary.

      120. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, violated clearly established statutory

and constitutional rights of Plaintiff, JANE DOE AC, of which a reasonable person

would have known.

      121. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their


                                        33
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.34 Page 34 of 146



employees, representatives, and/or agents, as described herein is not substantially

and/or rationally related to any legitimate governmental objective and/or interest.

      122. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      123. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.




                                         34
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.35 Page 35 of 146



      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.


      COUNT III – VIOLATION OF CIVIL RIGHTS – 42 U.S.C. § 1983
                    AGAINST ALL DEFENDANTS
      124. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      125. 42 U.S.C. § 1983 establishes a cause of action for any person who has

been deprived of any rights, privileges, or immunities secured by the Constitution

or laws of the United States by a person acting under color of State law.

      126. As set forth herein, at all relevant times, the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, were acting under

color of law, to wit, under color of statutes, ordinances, regulations, policies,
                                           35
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.36 Page 36 of 146



customs, and usages of the State of Michigan and/or Defendant, MICHIGAN

STATE UNIVERSITY.

      127. As set forth herein, Plaintiff, JANE DOE AC, has a constitutionally

protected Due Process right to be free from the invasion of bodily integrity through

sexual assault, abuse, or molestation.

      128. As set forth herein, Plaintiff, JANE DOE AC, has a constitutionally

protected Equal Protection right to be free from intentional discrimination because

of her sex by a person acting under color of law.

      129. As set forth herein, Plaintiff, JANE DOE AC, is a female and member

of a protected class.

      130. As      set   forth   herein,   the   Defendants,   MICHIGAN      STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, violated the

constitutionally protected due process right of Plaintiff, JANE DOE AC, to be free

from the invasion of bodily integrity through sexual assault, abuse, or molestation.

      131. As      set   forth   herein,   the   Defendants,   MICHIGAN      STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, violated the


                                           36
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.37 Page 37 of 146



constitutionally protected equal protection right of Plaintiff, JANE DOE AC, to be

free from intentional discrimination because of her sex by a person acting under

color of law.

      132. As     set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had actual knowledge of

and/or knew or should have known of the pattern, practice, scheme, and/or conduct

of Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and

terrorize young women such as Plaintiff, JANE DOE AC, including when these

young women were minors.

      133. As     set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women such as

Plaintiff, JANE DOE AC, including when these young women were minors, but

failed to do so, demonstrating conduct so reckless as to demonstrate a substantial




                                          37
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.38 Page 38 of 146



lack of concern for whether an injury results, as well as demonstrating deliberate

indifference, negligence, and gross negligence.

      134. Upon information and belief, the duty of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, to report and/or prevent the

pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women such as Plaintiff,

JANE DOE AC, including when these young women were minors, was not

discretionary.

      135. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, violated clearly established statutory

and constitutional rights of Plaintiff, JANE DOE AC, of which a reasonable person

would have known.

      136. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their




                                        38
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.39 Page 39 of 146



employees, representatives, and/or agents, as described herein is not substantially

and/or rationally related to any legitimate governmental objective and/or interest.

      137. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      138. As direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.




                                         39
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.40 Page 40 of 146



      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

           COUNT IV – VIOLATION OF CIVIL RIGHTS –
            42 U.S.C. § 1983, SUPERVISORY LIABILITY
    AGAINST DEFENDANTS MICHIGAN STATE UNIVERSITY, THE
   BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU
        SportsMEDICINE, STRAMPEL, KOVAN, AND SIMON

      139. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      140. As      set   forth   herein,   the   Defendants,   MICHIGAN       STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, were in a supervisory

position as it relates to Defendant NASSAR and had control, supervisory authority,

and responsibility over the supervision, training, oversight, investigation,


                                           40
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.41 Page 41 of 146



discipline, and employment decisions related to Defendant NASSAR and all

faculty and staff.

      141. As set forth herein, the training and/or supervision was inadequate for

the tasks performed.

      142. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES          OF     MICHIGAN            STATE    UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, failed to train and/or supervise their employees,

representatives, and/or agents, including Defendant NASSAR and all faculty and

staff, regarding, at least, the following duties:

             a.      To perceive, report, prevent, and/or stop inappropriate sexual

                     conduct occurring on the campus of Defendant, MICHIGAN

                     STATE UNIVERSITY;

             b.      To provide diligent supervision over students, student-athletes,

                     visitors, patients, faulty, staff, and/or other individuals on the

                     campus of Defendant, MICHIGAN STATE UNIVERSITY;

             c.      To immediately report incidents of sexual abuse or sexual

                     assault;

             d.      To immediately and thoroughly investigate allegations of

                     sexual abuse or sexual assault;


                                           41
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.42 Page 42 of 146



            e.    To implement policies to ensure the safety of students, student-

                  athletes, visitors, patients, faulty, staff, and/or other individuals

                  on    the    campus    of    Defendant,    MICHIGAN         STATE

                  UNIVERSITY;

            f.    To provide a safe environment for all students, student-athletes,

                  visitors, patients, faulty, staff, and/or other individuals on the

                  campus of Defendant, MICHIGAN STATE UNIVERSITY;

            g.    To properly train faculty and staff to be aware of their

                  individual responsibilities to ensure and maintain a safe

                  environment on the campus of Defendant, MICHIGAN STATE

                  UNIVERSITY.

      143. As    set   forth   herein,   the   Defendants,    MICHIGAN        STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had actual knowledge of

and/or knew or should have known of the pattern, practice, scheme, and/or conduct

of Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and

terrorize young women such as Plaintiff, JANE DOE AC, including when these

young women were minors.




                                         42
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.43 Page 43 of 146



      144. As     set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women such as

Plaintiff, JANE DOE AC, including when these young women were minors, but

failed to do so, demonstrating conduct so reckless as to demonstrate a substantial

lack of concern for whether an injury results, as well as demonstrating deliberate

indifference, negligence, and gross negligence.

      145. As set forth herein, the allegations set forth in the Affidavit of Ryan

Pennel, Detective First Lieutenant with the Michigan State Police, attached as

Exhibit B, demonstrate that Defendant STRAMPEL was fully aware of Defendant

NASSAR’s conduct.

      146. Specifically, as alleged in the Affidavit of Ryan Pennel, a forensic

examination of Defendant STRAMPEL’s work computer uncovered “a video of

Dr. Larry Nassar performing ‘treatment’ on a young female patient.” (See Exhibit

B, Affidavit of Ryan Pennel, at 4)

      147. Further, as explained above, Ms. Viventi has already determined that

Defendant STRAMPEL failed to monitor and/or supervise Defendant NASSAR.


                                          43
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.44 Page 44 of 146



      148. Accordingly, the Defendants, MICHIGAN STATE UNIVERSITY

and THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, have

already determined that there was a policy of inadequate training and/or

supervision the result of which was due to Defendant STRAMPEL’s deliberate

indifference, negligence, and/or gross negligence.

      149. Upon information and belief, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, and SIMON, were in a supervisory position as it relates to

Defendant STRAMPEL and had control, supervisory authority, and responsibility

over the supervision, training, oversight, investigation, discipline, and employment

decisions related to Defendant STRAMPEL.

      150. It is the position of Plaintiff, JANE DOE AC, that Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, and SIMON, are vicariously liable for the

deliberate indifference, negligence, and gross negligence of Defendant

STRAMPEL.

      151. It is further the position of Plaintiff, JANE DOE AC, that Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, and SIMON, themselves demonstrated

deliberate indifference, negligence, and/or gross negligence for their failure to


                                        44
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.45 Page 45 of 146



ensure that the additional requirements put in place in 2014 regarding Defendant

NASSAR, as set forth herein, were satisfied and/or actually employed and/or by

failing to enforce the additional requirements.

      152. This is especially the case in light of the fact that, upon information

and belief, the Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN           STATE   UNIVERSITY,       MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, were made aware of Defendant NASSAR’s conduct

in 1999, 2000, and 2014.

      153. Accordingly, in addition to the failure of Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, to properly train and/or supervise

Defendant NASSAR, the Defendants, MICHIGAN STATE UNIVERSITY, THE

BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, further failed to properly train and/or supervise Defendant

STRAMPEL.

      154. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE


                                         45
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.46 Page 46 of 146



UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      155. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON, jointly and severally, in an amount in excess

of $75,000 in actual damages, in addition to an award of exemplary damages


                                        46
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.47 Page 47 of 146



and/or treble damages, compensatory damages, special damages, punitive

damages, costs, interest, and attorney fees to which the Plaintiff is entitled, as well

as any and all equitable damages available at law, including, but not limited to,

declaratory and/or injunctive relief.


               COUNT V – VIOLATION OF TITLE IX
     OF THE EDUCATION ACT OF 1972, 20 U.S.C. § 1681, ET SEQ.,
   AGAINST DEFENDANTS MICHIGAN STATE UNIVERSITY, THE
   BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU
        SportsMEDICINE, STRAMPEL, KOVAN, AND SIMON
      156. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      157. Title IX, 20 U.S.C. § 1681(a) provides, in relevant part, as follows:

             No person in the United States shall, on the basis of
             sex…be subjected to discrimination under any education
             program or activity receiving Federal financial
             assistance…

      158. “Title IX also protects third parties from sexual harassment or

violence in a school’s education programs and activities.” See United States

Department of Education, Office for Civil Rights, “Dear Colleague,” ed.gov (April

3, 2018) available at https://ed.gov/print/about/offices/list/ocr/letters/colleague-

201104.html, at 4, n. 11.

      159. “Sexual harassment is unwelcome conduct of a sexual nature. It

includes unwelcome sexual advances, requests for sexual favors, and other verbal,


                                          47
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.48 Page 48 of 146



nonverbal, or physical conduct of a sexual nature. Sexual violence is a form of

sexual harassment prohibited by Title IX.” Id, at 3.

       160. “Title IX also prohibits gender-based harassment, which may include

acts of verbal, nonverbal, or physical aggression, intimidation, or hostility based on

sex or sex-stereotyping, even if those acts do not involve conduct of a sexual

nature.” Id, at 3, n. 9.

       161. Plaintiff, JANE DOE AC, is a “person” within the meaning and

protected by Title IX. See 20 U.S.C. § 1681(a).

       162. Defendant, MICHIGAN STATE UNIVERSITY, receives “Federal

financial assistance” for its education program and is subject to the provisions of

Title IX of the Education Act of 1972.

       163. Upon information and belief, Defendant, MSU SportsMEDICINE,

receives “Federal financial assistance” for its program and is subject to the

provisions of Title IX of the Education Act of 1972.

       164. The conduct of Defendant NASSAR, as set forth herein, was carried

out under one of Defendant MICHIGAN STATE UNIVERSITY’s and/or

Defendant MSU SportsMEDICINE’s programs which provides medical treatment

to students, athletes, faculty, staff, and the general public, for profit and which is

carried out on the campus of Defendant, MICHIGAN STATE UNIVERSITY.




                                         48
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.49 Page 49 of 146



      165. The conduct of Defendant NASSAR, as set forth herein, constitutes

sexual discrimination and harassment protected by Title IX.

      166. Pursuant to Title IX, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, have a duty to investigate

all allegations of sexual assault, battery, molestation, and harassment, including

where the alleged sexual assault, battery, molestation, and/or harassment was

committed by an employee.

      167. The conduct of Defendant NASSAR, as set forth herein, was

conducted on the campus of Defendant, MICHIGAN STATE UNIVERSITY.

      168. Upon information and belief, in 1999 and 2000, the Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and/or SIMON, and/or their employees, representatives, and/or agents,

had actual knowledge of, knew of or should have known of and/or demonstrated

deliberate indifference to the conduct of Defendant NASSAR which constituted

sexual discrimination and harassment protected by Title IX.

      169. Upon information and belief, again, in 2014, the Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF


                                        49
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.50 Page 50 of 146



MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and/or SIMON, and/or their employees, representatives, and/or agents,

had actual knowledge of, knew of or should have known of and/or demonstrated

deliberate indifference to the conduct of Defendant NASSAR which constituted

sexual discrimination and harassment protected by Title IX.

      170. On each and every occasion, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and/or SIMON,

and/or their employees, representatives, and/or agents, breached their duties under

Title IX to investigate and take corrective action in response to allegations of

sexual discrimination and harassment protected by Title IX.

      171. After the complaints in 1999, 2000, and 2014 against Defendant

NASSAR and the failure of Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and/or SIMON, and/or their

employees, representatives, and/or agents, Defendant NASSAR continued his

pattern, practice, scheme, and/or conduct to sexually assault, batter, molest, harass,

stalk, and terrorize young women such as Plaintiff, JANE DOE AC, including

when these young women were minors.




                                         50
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.51 Page 51 of 146



      172. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN        STATE       UNIVERSITY,       MSU

SportsMEDICINE, STRAMPEL, KOVAN, and/or SIMON, and/or their

employees, representatives, and/or agents, demonstrated deliberate indifference, in

violation of Title IX, regarding the pattern, practice, scheme, and/or conduct of

Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and terrorize

young women such as Plaintiff, JANE DOE AC, including when these young

women were minors, including by, as follows:

            a.     Failing to adequately investigate complaints of sexual

                   discrimination and/or harassment made by a female or females

                   against Defendant NASSAR in 1999;

            b.     Failing to take corrective action against Defendant NASSAR

                   following   complaints    of   sexual   discrimination   and/or

                   harassment made by a female or females against Defendant

                   NASSAR in 1999;

            c.     Failing to adequately investigate complaints of sexual

                   discrimination and/or harassment made by a female or females

                   against Defendant NASSAR in 2000;

            d.     Failing to take corrective action against Defendant NASSAR

                   following   complaints    of   sexual   discrimination   and/or


                                        51
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.52 Page 52 of 146



                  harassment made by a female or females against Defendant

                  NASSAR in 2000;

            e.    Failing to adequately investigate complaints of sexual

                  discrimination and/or harassment made by a female or females

                  against Defendant NASSAR in 2014;

            f.    Failing to take corrective action against Defendant NASSAR

                  and/or ensure that implemented corrective action was carried

                  out following complaints of sexual discrimination and/or

                  harassment made by a female or females against Defendant

                  NASSAR in 2014;

            g.    Failing to institute corrective measures to ensure that Defendant

                  NASSAR did not sexually discriminate against or harass

                  another individual, including minors, while employed by

                  Defendant, MICHIGAN STATE UNIVERSITY.

      173. The response of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and their employees,

representatives, and agents, to the complaints against Defendant NASSAR in 1999,

2000, and 2014 were clearly unreasonable and demonstrates a substantial lack of




                                       52
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.53 Page 53 of 146



concern for whether an injury results, as well as demonstrating deliberate

indifference, negligence, and gross negligence.

      174. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      175. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.




                                        53
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.54 Page 54 of 146



         WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON, jointly and severally, in an amount in excess

of $75,000 in actual damages, in addition to an award of exemplary damages

and/or treble damages, compensatory damages, special damages, punitive

damages, costs, interest, and attorney fees to which the Plaintiff is entitled, as well

as any and all equitable damages available at law, including, but not limited to,

declaratory and/or injunctive relief.

  COUNT VI – VIOLATION OF THE CONSTITUTION OF MICHIGAN –
                        DUE PROCESS
                  AGAINST ALL DEFENDANTS

         176. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

         177. Plaintiff, JANE DOE AC, has a constitutionally protected Due

Process right to be free from the invasion of bodily integrity through sexual

assault, abuse, or molestation.

         178. Plaintiff, JANE DOE AC, is a female and member of a protected

class.

         179. The Due Process Clause of the Constitution of Michigan of 1963 is

coextensive with the Due Process Clause of the United States Constitution.


                                          54
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.55 Page 55 of 146



      180. The Due Process Clause of the Constitution of Michigan of 1963

protects the right of an individual, including a minor child, to be free from sexual

assault, abuse, or molestation.

      181. Sexual abuse under color of law is so contrary to the fundamental

notions of liberty and fairness and completely lacking in any redeeming value to

society that no rational individual could believe that sexual abuse is

constitutionally permissible under the Due Process Clause of the Constitution of

Michigan of 1963.

      182. At all relevant times, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, were acting under

color of law, to wit, under color of statutes, ordinances, regulations, policies,

customs, and usages of the State of Michigan and/or Defendant, MICHIGAN

STATE UNIVERSITY.

      183. As     set   forth     herein,   the   Defendants,   MICHIGAN    STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, violated the




                                            55
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.56 Page 56 of 146



constitutionally protected due process right of Plaintiff, JANE DOE AC, to be free

from the invasion of bodily integrity through sexual assault, abuse, or molestation.

      184. As     set   forth   herein,   the   Defendants,   MICHIGAN       STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had actual knowledge of

and/or knew or should have known of the pattern, practice, scheme, and/or conduct

of Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and

terrorize young women such as Plaintiff, JANE DOE AC, including when these

young women were minors.

      185. As     set   forth   herein,   the   Defendants,   MICHIGAN       STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women such as

Plaintiff, JANE DOE AC, including when these young women were minors, but

failed to do so, demonstrating conduct so reckless as to demonstrate a substantial

lack of concern for whether an injury results, as well as demonstrating deliberate

indifference, negligence, and gross negligence.


                                          56
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.57 Page 57 of 146



      186. Upon information and belief, the duty of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, to report and/or prevent the

pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women such as Plaintiff,

JANE DOE AC, including when these young women were minors, was not

discretionary.

      187. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, violated clearly established statutory

and constitutional rights of Plaintiff, JANE DOE AC, of which a reasonable person

would have known.

      188. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, as described herein is not substantially

and/or rationally related to any legitimate governmental objective and/or interest.




                                         57
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.58 Page 58 of 146



      189. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      190. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,


                                        58
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.59 Page 59 of 146



NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

 COUNT VII – VIOLATION OF THE CONSTITUTION OF MICHIGAN –
                    EQUAL PROTECTION
                 AGAINST ALL DEFENDANTS

         191. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

         192. Plaintiff, JANE DOE AC, has a constitutionally protected Equal

Protection right to be free from intentional discrimination because of her sex by a

person acting under color of law.

         193. Plaintiff, JANE DOE AC, is a female and member of a protected

class.

         194. The Equal Protection Clause of the Constitution of Michigan of 1963

is coextensive with the Equal Protection Clause of the United States Constitution.

         195. The Equal Protection Clause of the Constitution of Michigan of 1963

protects the right of a woman, such as Plaintiff, JANE DOE AC, to be free from

intentional discrimination because of her sex by a person acting under color of law.


                                           59
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.60 Page 60 of 146



      196. Intentional discrimination because of an individual’s sex under color

of law is so contrary to the fundamental notions of liberty and fairness and

completely lacking in any redeeming value to society that no rational individual

could believe that sexual abuse is constitutionally permissible under the Equal

Protection Clause of the Constitution of Michigan of 1963.

      197. At all relevant times, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, were acting under

color of law, to wit, under color of statutes, ordinances, regulations, policies,

customs, and usages of the State of Michigan and/or Defendant, MICHIGAN

STATE UNIVERSITY.

      198. As    set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, violated the

constitutionally protected equal protection right of Plaintiff, JANE DOE AC, to be

free from intentional discrimination because of her sex by a person acting under

color of law.




                                         60
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.61 Page 61 of 146



      199. As     set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had actual knowledge of

and/or knew or should have known of the pattern, practice, scheme, and/or conduct

of Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and

terrorize young women such as Plaintiff, JANE DOE AC, including when these

young women were minors.

      200. As     set   forth   herein,   the   Defendants,   MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women such as

Plaintiff, JANE DOE AC, including when these young women were minors, but

failed to do so, demonstrating conduct so reckless as to demonstrate a substantial

lack of concern for whether an injury results, as well as demonstrating deliberate

indifference, negligence, and gross negligence.

      201. Upon information and belief, the duty of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE


                                          61
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.62 Page 62 of 146



UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, to report and/or prevent the

pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women such as Plaintiff,

JANE DOE AC, including when these young women were minors, was not

discretionary.

      202. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, violated clearly established statutory

and constitutional rights of Plaintiff, JANE DOE AC, of which a reasonable person

would have known.

      203. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and SIMON, and/or their

employees, representatives, and/or agents, as described herein is not substantially

and/or rationally related to any legitimate governmental objective and/or interest.

      204. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and


                                         62
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.63 Page 63 of 146



SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      205. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special


                                        63
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.64 Page 64 of 146



damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

   COUNT VIII - VIOLATION OF THE MICHIGAN ELLIOT-LARSEN
        CIVIL RIGHTS ACT AGAINST ALL DEFENDANTS

      206. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      207. The Michigan Elliot-Larsen Civil Rights Act (“ELCRA”), MCL

37.2101, et seq., prohibits discrimination based on sex. See MCL 37.2102.

      208.    “Discrimination because of sex includes sexual harassment.” MCL

37.2103(i).

      209. The ELCRA protects against sexual harassment in educational

institutions such as Defendant, MICHIGAN STATE UNIVERSITY.

      210. At all times pertinent hereto, Defendant, MICHIGAN STATE

UNIVERSITY, was and is an “educational institution” as defined by and subject to

the ELCRA. See MCL 37.2401.

      211. At all times pertinent hereto, Defendant, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, was and is an “educational

institution” as defined by and subject to the ELCRA. See MCL 37.2401.




                                           64
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.65 Page 65 of 146



      212. At all times pertinent hereto, Defendant, MSU SportsMEDICINE,

was and is an “educational institution” as defined by and subject to the ELCRA.

See MCL 37.2401.

      213. At all times pertinent hereto, Defendant NASSAR was an

“educational institution” as defined by and subject to the ELCRA. See MCL

37.2401.

      214. At all times pertinent hereto, Defendant STRAMPEL was an

“educational institution” as defined by and subject to the ELCRA. See MCL

37.2401.

      215. At all times pertinent hereto, Defendant KOVAN was an “educational

institution” as defined by and subject to the ELCRA. See MCL 37.2401.

      216. At all times pertinent hereto, Defendant SIMON was an “educational

institution” as defined by and subject to the ELCRA. See MCL 37.2401.

      217. At all times pertinent hereto, Plaintiff, JANE DOE AC, was and is a

“person” as defined by and protected by the ELCRA. See MCL 37.2103(g).

      218. An “educational institution,” such as each Defendant, shall not

“discriminate against an individual in the full utilization of or benefit from the

institution, or the services, activities, or programs provided by the institution

because of…sex.” MCL 37.2401(a).




                                       65
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.66 Page 66 of 146



       219. Pursuant to the ELCRA, an educational institution shall not

“[d]iscriminate against an individual in the full utilization of or benefit from the

institution, or the services, activities, or programs provided by the institution

because of religion, race, color, national origin, or sex.” MCL 37.2402(a).

       220. As set forth herein, the conduct of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, were carried out under “services, activities, or programs provided by the

institution[.]”

       221. As set forth herein, the services, activities, and programs of the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, at issue were extended, offered, sold, or

otherwise made available to the public.

       222. The ELCRA protects against sexual harassment in places of “public

accommodation.” See MCL 37.2102(1).

       223. Pursuant to the ELCRA, a “place of public accommodation” means

“an educational…institution of any kind…whose…services, facilities, privileges,

advantages, or accommodations are extended, offered, sold, or otherwise made

available to the public.” MCL 37.2301(a).


                                          66
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.67 Page 67 of 146



      224. As set forth herein, the conduct of all Defendants occurred in a “place

of public accommodation,” as defined by the ELCRA.

      225. As set forth herein, the conduct of all Defendants violated the rights of

Plaintiff, JANE DOE AC, which are protected by the ELCRA.

      226. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      227. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of




                                        67
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.68 Page 68 of 146



enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

                          COUNT IX – STALKING
                       AGAINST DEFENDANT NASSAR

      228. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      229. Pursuant to MCL 750.411h(1)(c), harassment means “conduct

directed toward a victim that includes, but is not limited to, repeated or continuing

unconsented contact would cause a reasonable individual to suffer emotional

distress and that actually causes the victim to suffer emotional distress.”

      230. Pursuant to MCL 750.411h(1)(d), stalking means “a willful course of

conduct involving repeated or continuing harassment of another individual that
                                           68
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.69 Page 69 of 146



would cause a reasonable person to feel terrorized, frightened, intimidated,

threatened, harassed, or molested and that actually causes the victim to feel

terrorized, frightened, intimidated, threatened, harassed, or molested.”

      231. As set forth above, Plaintiff, JANE DOE AC, was the target of a

willful course of conduct involving repeated or continuing harassment at the hands

of Defendant NASSAR.

      232. As set forth above, Plaintiff, JANE DOE AC, was the target of

repeated and continuing unconsented contact by Defendant NASSAR that would

cause a reasonable individual to suffer emotional distress and that actually caused

Plaintiff, JANE DOE AC, to suffer emotional distress, in violation of MCL

750.411h.

      233. As set forth above, Plaintiff, JANE DOE AC, was the target of a

willful course of conduct of Defendant NASSAR involving repeated and

continuing harassment that would cause a reasonable person to feel terrorized,

frightened, intimidated, threatened, harassed, or molested and that actually caused

Plaintiff, JANE DOE AC, to feel terrorized, frightened, intimidated, threatened,

harassed, or molested, in violation of MCL 750.411h.

      234. The willful course of conduct of Defendant NASSAR was not

constitutionally protected activity and did not serve any legitimate purpose.




                                         69
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.70 Page 70 of 146



      235. Pursuant to MCL 600.2954, a victim of stalking and/or harassment

may maintain a civil action for damages incurred by the victim as a result of that

conduct. “A victim may also seek and be awarded exemplary damages, costs of

the action, and reasonable attorney fees in an action brought under this section.”

MCL 600.2954.

      236. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      237. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, Plaintiff, JANE DOE, AC suffered personal

injury, physical trauma and distress, emotional trauma and distress, the physical

manifestation of emotional distress and/or personal injury, including but not

limited to eating disorders, weight loss, weight gain, difficulty sleeping,

depression, anxiety, irregular menstrual cycles, digestive distress, shock,

embarrassment, humiliation, loss of self-esteem, disgrace, loss of earnings and/or




                                       70
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.71 Page 71 of 146



earning capacity, and loss of enjoyment of life, as well as feelings of being

terrorized, frightened, intimidated, threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against Defendant NASSAR in an amount in excess of $75,000 in actual damages,

in addition to an award of exemplary damages and/or treble damages,

compensatory damages, special damages, punitive damages, costs, interest, and

attorney fees to which the Plaintiff is entitled, as well as any and all equitable

damages available at law, including, but not limited to, declaratory and/or

injunctive relief.

                     COUNT X – INVASION OF PRIVACY
                       AGAINST ALL DEFENDANTS

      238. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      239. At all times pertinent hereto, Plaintiff, JANE DOE AC, had a

constitutional, statutory, and common law right to be free from the invasion and/or

intrusion of bodily integrity through sexual assault, abuse, or molestation.

      240. The constitutional, statutory, and common law right to be free from

the invasion and/or intrusion of bodily integrity through sexual assault, abuse, or

molestation of Plaintiff, JANE DOE AC, is a significant and private subject matter.

       241. Plaintiff, JANE DOE AC, had a constitutional, statutory, and common

law right to keep such subject matter private.
                                         71
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.72 Page 72 of 146



      242. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, as set forth herein, Defendant NASSAR

obtained information about the private subject matter through a method that

reasonable person would find objectionable, as described herein.

      243. As set forth herein, Defendant NASSAR had a duty to Plaintiff, JANE

DOE AC, to not sexually assault, batter, molest, harass, stalk, and terrorize

Plaintiff, JANE DOE AC, including when she was a minor.

      244. As set forth herein, Defendant NASSAR breached said duty.

      245. As forth herein, the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, had a duty to report and/or prevent the pattern,

practice, scheme, and/or conduct of Defendant NASSAR to sexually assault,

batter, molest, harass, stalk, and terrorize young women such as Plaintiff, JANE

DOE AC, including when these young women were minors.

      246. As     set   forth   herein,   the   Defendants,   MICHIGAN   STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE




                                          72
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.73 Page 73 of 146



UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, breached said duty.

      247. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      248. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.




                                         73
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.74 Page 74 of 146



      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

COUNT XI – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                AGAINST ALL DEFENDANTS

      249. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      250. As set forth herein, Defendant NASSAR had a duty to Plaintiff, JANE

DOE AC, to not sexually assault, batter, molest, harass, stalk, and terrorize

Plaintiff, JANE DOE AC, including when she was a minor.

      251. As set forth herein, Defendant NASSAR breached said duty.

      252. The conduct of Defendant NASSAR, as described herein, was

extreme, outrageous, intentional, and reckless conduct carried out with intent to

commit said extreme, outrageous, intentional, and reckless conduct and/or with

reckless disregard for the health, safety, or wellbeing of Plaintiff, JANE DOE AC,
                                           74
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.75 Page 75 of 146



and/or which was so reckless as to demonstrate a substantial lack of concern for

whether an injury would result.

      253. As     set   forth   herein,   the   Defendants,   MICHIGAN        STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, had a duty to report and/or

prevent the pattern, practice, scheme, and/or conduct of Defendant NASSAR to

sexually assault, batter, molest, harass, stalk, and terrorize young women such as

Plaintiff, JANE DOE AC, including when these young women were minors.

      254. As     set   forth   herein,   the   Defendants,   MICHIGAN        STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, breached said duty.

      255. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, as described herein, was extreme, outrageous,

intentional, and reckless conduct carried out with intent to commit said extreme,

outrageous, intentional, and reckless conduct and/or with reckless disregard for the

health, safety, or wellbeing of Plaintiff, JANE DOE AC, and/or which was so


                                          75
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.76 Page 76 of 146



reckless as to demonstrate a substantial lack of concern for whether an injury

would result.

      256. A reasonable person would not expect the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, to tolerate or

permit an employee, agent, and/or representative, to carry out the type of pattern,

practice, scheme, and/or conduct of Defendant NASSAR to sexually assault,

batter, molest, harass, stalk, and terrorize young women, including when these

young women were minors, after the above-referenced Defendants knew or should

have known of complaints and claims of Defendant NASSAR’s conduct performed

under the guise of medical treatment.

      257. A reasonable person would not expect the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, to be incapable of

supervising Defendant NASSAR and/or preventing Defendant NASSAR from

carrying out his pattern, practice, scheme, and/or conduct to sexually assault,

batter, molest, harass, stalk, and terrorize young women, including when these

young women were minors.


                                        76
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.77 Page 77 of 146



      258. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      259. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,


                                        77
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.78 Page 78 of 146



NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

   COUNT XII – VICARIOUS LIABILITY AND/OR RESPONDEAT
SUPERIOR AGAINST DEFENDANTS MICHIGAN STATE UNIVERSITY,
  THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY,
               STRAMPEL, KOVAN, AND SIMON

      260. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      261. The Michigan Supreme Court has stated that “Vicarious liability is

indirect responsibility imposed by operation of law.”         Theophelis v. Lansing

General Hospital, 430 Mich. 473, 483; 424 N.W.2d 478 (1988).

      262. Vicariously liable essentially creates agency between the principal and

its agent so that the principal is held to have done what its agent has done.

      263. At all times pertinent hereto, Defendant NASSAR was an employee

of Defendant, MICHIGAN STATE UNIVERSITY.

      264. Upon information and belief, at all times pertinent hereto, Defendant,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, had

“control and direction” and “final authority” over the supervision, training,
                                           78
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.79 Page 79 of 146



oversight, investigation, discipline, and employment decisions related to Defendant

NASSAR.

      265. Upon information and belief, Defendant, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, delegated supervisory

authority and responsibility to Defendants, LOU ANNA SIMON, WILLIAM D.

STAMPEL, and JEFFREY R. KOVAN, over the supervision, oversight,

investigation, discipline, and employment decisions related to Defendant

NASSAR.

      266. Upon information and belief, Defendants, SIMON, STRAMPEL, and

KOVAN actually had control, supervisory authority, and responsibility over the

supervision, oversight, investigation, discipline, and employment decisions related

to Defendant NASSAR.

      267. Upon information and belief, at all times pertinent hereto, Defendant

NASSAR was acting within the scope of his employment and/or agency with

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, and MSU SportsMEDICINE.

      268.   At all times pertinent hereto, Defendant NASSAR was acting with

the express and/or implicit consent of Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON.


                                        79
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.80 Page 80 of 146



      269. At all times pertinent hereto, Defendant NASSAR maintained an

office and practiced osteopathic medicine at Defendant MSU SportsMEDICINE on

the campus of Defendant MICHIGAN STATE UNIVERSITY.

      270. The events described herein occurred on the campus of Defendant,

MICHIGAN STATE UNIVERSITY, at the offices of Defendant, MSU

SportsMEDICINE.

      271. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF    TRUSTEES        OF    MICHIGAN        STATE      UNIVERSITY,       MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, are vicariously liable for

the actions of Defendant NASSAR, as described in this Complaint, which were

performed during the course of his employment, agency, and/or representation

with the Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON, and while he was permitted to have access to

and/or physical contact with young, female patients on the campus of Defendant,

MICHIGAN STATE UNIVERSITY, at the offices of Defendant, MSU

SportsMEDICINE, and through the College of Osteopathic Medicine and Division

of Sports Medicine of Defendant, MICHIGAN STATE UNIVERSITY.

      272. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF    TRUSTEES        OF    MICHIGAN        STATE      UNIVERSITY,       MSU


                                      80
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.81 Page 81 of 146



SportsMEDICINE, KOVAN, and SIMON, are also vicariously liable for the

actions of Defendant STRAMPEL, as set forth herein.

      273. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF    TRUSTEES        OF     MICHIGAN         STATE      UNIVERSITY,        MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had actual and/or

constructive knowledge of the pattern, practice, scheme, and/or conduct of

Defendant NASSAR to sexually assault, batter, molest, harass, stalk, and terrorize

young women such as Plaintiff, JANE DOE AC, including when these young

women were minors, under the guise of medical treatment, during the course of

Defendant NASSAR’s employment.

      274. Upon information and belief, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, KOVAN, and SIMON, had actual and/or

constructive knowledge of the conduct of Defendant STRAMPEL to use his

position of authority to sexually assault, sexually harass, and/or coerce young

women into engaging in sexual acts for personal gratification and/or in exchange

for academic favors. (See Exhibit B, Affidavit of Ryan Pennell)

      275. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF    TRUSTEES        OF     MICHIGAN         STATE      UNIVERSITY,        MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had actual and/or


                                       81
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.82 Page 82 of 146



constructive knowledge of Defendant NASSAR’S propensity to sexually assault,

batter, molest, harass, stalk, and terrorize young women such as Plaintiff, JANE

DOE AC, including when these young women were minors, under the guise of

medical treatment, during the course of Defendant NASSAR’s employment, and

the Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON, took no action to prevent such conduct.

      276. It was reasonably foreseeable that Defendant NASSAR would

continue to sexually assault, batter, molest, harass, stalk, and terrorize young

women such as Plaintiff, JANE DOE AC, including when these young women

were minors, under the guise of medical treatment, during his employment,

agency, and/or representation, with the actual and/or constructive knowledge that

the Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON, had of such conduct.

      277. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.


                                       82
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.83 Page 83 of 146



      278. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff




                                        83
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.84 Page 84 of 146



is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

          COUNT XIII – EXPRESS AND/OR IMPLIED AGENCY
      AGAINST DEFENDANTS MICHIGAN STATE UNIVERSITY, THE
     BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU
          SportsMEDICINE, STRAMPEL, KOVAN, AND SIMON

       279. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

       280. An agent is a person or entity who is authorized by another to act on

its behalf.

       281. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, intentionally and/or

negligently made representations that Defendant NASSAR was their employee,

agent, and/or representative.

       282. On the basis of said representations, Plaintiff, JANE DOE AC,

reasonably believed that Defendant NASSAR was acting as an employee, agent,

and/or representative of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON.

       283. Plaintiff, JANE DOE AC, was injured, as described herein, as a result

of the conduct of Defendant NASSAR, as described herein, and which conduct
                                           84
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.85 Page 85 of 146



was performed during the course of Defendant NASSAR’s employment, agency,

and/or representation with the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and while Defendant

NASSAR had unfettered access to young, female athletes and/or individuals.

      284. Plaintiff, JANE DOE AC, was injured, as described herein, as a result

of her reasonable reliance on the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, to provide employees,

agents, and/or representatives who exercise reasonable skill and care.

      285. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF     MICHIGAN         STATE       UNIVERSITY,       MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, are liable for the actions

of Defendant NASSAR, as described herein, which conduct was performed during

the course of Defendant NASSAR’s employment, agency, and/or representation

with the Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON, and while Defendant NASSAR had

unfettered access to young, female athletes and/or individuals.




                                         85
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.86 Page 86 of 146



      286. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF     MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, KOVAN, and SIMON, are liable for the actions of Defendant

STRAMPEL, as set forth herein.

      287. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      288. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of




                                        86
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.87 Page 87 of 146



enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

      COUNT XIV - NEGLIGENCE AND/OR GROSS NEGLIGENCE
                   AGAINST ALL DEFENDANTS

      289. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      290. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, owed Plaintiff, JANE

DOE AC, a duty of ordinary care to ensure her safety and freedom and/or to

protect her from sexual assault, sexual battery, sexual abuse, and sexual

molestation while interacting with the above-named Defendants’ employees,
                                           87
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.88 Page 88 of 146



agents, and/or representatives, including Defendant NASSAR, and while on the

campus of Defendant MICHIGAN STATE UNIVERSITY, and at the office of

Defendant, MSU SportsMEDICINE.

      291. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,      MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, also had a duty of care to

adequately train, supervise, educate, and retain their employees, agents, and/or

representatives, including Defendant NASSAR.

      292. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,      MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, also had a duty to report and/or prevent the pattern,

practice, scheme, and/or conduct of Defendant NASSAR to sexually assault,

batter, molest, harass, stalk, and terrorize young women such as Plaintiff, JANE

DOE AC, including when these young women were minors.

      293. As     set   forth   herein,   the   Defendants,    MICHIGAN      STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

breached said duties, demonstrating negligent and/or grossly negligent conduct.




                                          88
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.89 Page 89 of 146



      294. The failure of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, to comply with said

duties demonstrates conduct so outrageous and reckless as to demonstrate a

substantial lack of concern for whether injury resulted to Plaintiff, JANE DOE AC.

      295. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, demonstrated a willful

disregard for precautions to ensure the safety of Plaintiff, JANE DOE AC.

      296. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF    TRUSTEES        OF     MICHIGAN         STATE      UNIVERSITY,        MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had actual and/or

constructive knowledge of, knew and/or should have known of, and/or

demonstrated deliberate indifference towards the pattern, practice, scheme, and/or

conduct of Defendant NASSAR to sexually assault, batter, molest, harass, stalk,

and terrorize young women such as Plaintiff, JANE DOE AC, including when

these young women were minors.

      297. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU




                                        89
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.90 Page 90 of 146



SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, demonstrated a willful

disregard for substantial and devastating risks to Plaintiff, JANE DOE AC.

      298. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, further demonstrated a

reckless disregard for Plaintiff JANE DOE AC’s health, safety, constitutional

rights, statutory rights, and common law rights with substantial disregard for

whether injury resulted to Plaintiff, JANE DOE AC.

      299. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF     MICHIGAN        STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, despite their knowledge,

failed to warn Plaintiff, JANE DOE AC, that there had been allegations against

Defendant NASSAR that he was sexually assaulting, battering, molesting, and

terrorizing, young, female athletes and patients under the guise of medical

treatment and/or that the alleged medical treatment that Plaintiff, JANE DOE AC,

had received and/or would receive in the future from Defendant NASSAR may

and/or actually was sexual assault.

      300. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF     MICHIGAN        STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, despite their knowledge,


                                        90
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.91 Page 91 of 146



failed to protect Plaintiff, JANE DOE AC, from the pattern, practice, scheme,

and/or conduct of Defendant NASSAR to sexually assault, batter, molest, harass,

stalk, and terrorize young women such as Plaintiff, JANE DOE AC, including

when these young women were minors.

      301. Defendant NASSAR owed Plantiff, JANE DOE AC, a duty of

ordinary care in providing medical treatment as an employee, agent, and/or

representative of the Defendants, MICHIGAN STATE UNIVERSITY, THE

BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON.

      302. As set forth herein, Defendant NASSAR also had a duty to Plaintiff,

JANE DOE AC, to not sexually assault, batter, molest, harass, stalk, and terrorize

Plaintiff, JANE DOE AC, including when she was a minor.

      303. A special, confidential, and fiduciary relationship was created

between Plaintiff, JANE DOE AC, and Defendant NASSAR when Plaintiff, JANE

DOE AC, sought medical treatment from Defendant NASSAR in the course of his

employment, agency, and/or representation of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

resulting in Defendant NASSAR owing Plaintiff, JANE DOE AC, a duty to use

due care.


                                       91
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.92 Page 92 of 146



      304. As set forth herein, Defendant NASSAR breached said duties.

      305. The conduct of Defendant NASSAR, as described herein, including

his breach of said duties, demonstrates conduct so outrageous and reckless as to

demonstrate a substantial lack of concern for whether injury resulted to Plaintiff,

JANE DOE AC.

      306. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      307. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of


                                        92
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.93 Page 93 of 146



enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

       WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

       COUNT XV – NEGLIGENT AND/OR GROSSLY NEGLIGENT
                FAILURE TO TRAIN AND/OR EDUCATE
      AGAINST DEFENDANTS MICHIGAN STATE UNIVERSITY, THE
     BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU
          SportsMEDICINE, STRAMPEL, KOVAN, AND SIMON

       308. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

       309. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had a duty of care to




                                           93
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.94 Page 94 of 146



adequately train, supervise, educate, and retain their employees, agents, and/or

representatives, including Defendant NASSAR.

      310. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had a duty to train and

educate Defendant NASSAR regarding the standard of care and/or the standards

regarding sexual assault and/or harassment on campus of the Defendant,

MICHIGAN STATE UNIVERSITY.

      311. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, also had a duty when

training and/or educating employees, agents, and/or representatives, including

Defendant NASSAR, to exercise due care.

      312. As     set   forth   herein,   the   Defendants,    MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

breached said duties, demonstrating negligent and/or grossly negligent conduct.

      313. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, were negligent and/or


                                          94
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.95 Page 95 of 146



grossly negligent in their training and/or education of Defendant NASSAR as an

employee, agent, and/or representative when after the above-identified Defendants

discovered, or reasonably should have discovered Defendant NASSAR’s conduct,

which reflected a propensity for sexual misconduct, the above-identified

Defendants did not take the necessary steps to train and/or educate Defendant

NASSAR and/or ensure that Defendant NASSAR immediately stopped such

conduct.

      314. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their failure to act

in accordance with the standard of care resulted in Defendant NASSAR gaining

access to and sexually abusing and/or sexually assaulting Plaintiff, JANE DOE

AC, as described herein, and an unknown number of other young individuals.

      315. The aforementioned negligence and/or gross negligence in the training

and/or education of Defendant NASSAR created a foreseeable risk of harm to

Plaintiff, JANE DOE AC, as well as other minors and young individuals.

      316. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF    TRUSTEES        OF     MICHIGAN        STATE      UNIVERSITY,          MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had actual and/or

constructive knowledge of, knew and/or should have known of, and/or


                                       95
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.96 Page 96 of 146



demonstrated deliberate indifference towards the pattern, practice, scheme, and/or

conduct of Defendant NASSAR to sexually assault, batter, molest, harass, stalk,

and terrorize young women such as Plaintiff, JANE DOE AC, including when

these young women were minors, and failed to stop and/or prevent such conduct.

      317. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, demonstrated a willful

disregard for substantial and devastating risks to Plaintiff, JANE DOE AC.

      318. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, further demonstrated a

reckless disregard for Plaintiff JANE DOE AC’s health, safety, constitutional

rights, statutory rights, and common law rights with substantial disregard for

whether injury resulted to Plaintiff, JANE DOE AC.

      319. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF    TRUSTEES         OF    MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, despite their knowledge,

failed to protect Plaintiff, JANE DOE AC, from the pattern, practice, scheme,

and/or conduct of Defendant NASSAR to sexually assault, batter, molest, harass,




                                        96
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.97 Page 97 of 146



stalk, and terrorize young women such as Plaintiff, JANE DOE AC, including

when these young women were minors.

      320. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      321. As direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.




                                        97
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.98 Page 98 of 146



       WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

       COUNT XVI – NEGLIGENT AND/OR GROSSLY NEGLIGENT
                     FAILURE TO SUPERVISE
      AGAINST DEFENDANTS MICHIGAN STATE UNIVERSITY, THE
     BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU
          SportsMEDICINE, STRAMPEL, KOVAN, AND SIMON

       322. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

       323. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had a duty of care to

adequately train, supervise, educate, and retain their employees, agents, and/or

representatives, including Defendant NASSAR.




                                           98
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.99 Page 99 of 146



      324. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, also had a duty when

supervising employees, agents, and/or representatives, including Defendant

NASSAR, to exercise due care.

      325. As     set   forth   herein,   the   Defendants,    MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

breached said duties, demonstrating negligent and/or grossly negligent conduct.

      326. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, were negligent and/or

grossly negligent in the supervision of Defendant NASSAR as an employee, agent,

and/or representative in light of their knowledge of the conduct of Defendant

NASSAR, as described herein.

      327. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, were negligent and/or

grossly negligent in the supervision of Defendant NASSAR as an employee, agent,

and/or representative when after the above-identified Defendants discovered, or


                                          99
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.100 Page 100 of 146



reasonably should have discovered Defendant NASSAR’s conduct, which reflected

a propensity for sexual misconduct, the above-identified Defendants did not take

the necessary steps to supervise Defendant NASSAR and/or ensure that Defendant

NASSAR immediately stopped such conduct.

      328. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their failure to act

in accordance with the standard of care resulted in Defendant NASSAR gaining

access to and sexually abusing and/or sexually assaulting Plaintiff, JANE DOE

AC, as described herein, and an unknown number of other young individuals.

      329. The aforementioned negligence and/or gross negligence in the

supervision of Defendant NASSAR created a foreseeable risk of harm to Plaintiff,

JANE DOE AC, as well as other minors and young individuals.

      330. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES       OF     MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had actual and/or

constructive knowledge of, knew and/or should have known of, and/or

demonstrated deliberate indifference towards the pattern, practice, scheme, and/or

conduct of Defendant NASSAR to sexually assault, batter, molest, harass, stalk,




                                       100
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.101 Page 101 of 146



and terrorize young women such as Plaintiff, JANE DOE AC, including when

these young women were minors, and failed to stop and/or prevent such conduct.

      331. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, demonstrated a willful

disregard for substantial and devastating risks to Plaintiff, JANE DOE AC.

      332. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, further demonstrated a

reckless disregard for Plaintiff JANE DOE AC’s health, safety, constitutional

rights, statutory rights, and common law rights with substantial disregard for

whether injury resulted to Plaintiff, JANE DOE AC.

      333. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF    MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, despite their knowledge,

failed to protect Plaintiff, JANE DOE AC, from the pattern, practice, scheme,

and/or conduct of Defendant NASSAR to sexually assault, batter, molest, harass,

stalk, and terrorize young women such as Plaintiff, JANE DOE AC, including

when these young women were minors.




                                       101
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.102 Page 102 of 146



      334. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      335. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,


                                        102
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.103 Page 103 of 146



NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

      COUNT XVII – NEGLIGENT AND/OR GROSSLY NEGLIGENT
        RETENTION AGAINST DEFENDANTS MICHIGAN STATE
     UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE
     UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, AND
                             SIMON

       336. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

       337. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had a duty of care to

adequately train, supervise, educate, and retain their employees, agents, and/or

representatives, including Defendant NASSAR.

       338. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had a duty when

credentialing, hiring, retaining, screening, checking, regulating, monitoring,


                                          103
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.104 Page 104 of 146



supervising, and reviewing employees, agents, and/or representatives, including

Defendant NASSAR, to exercise due care.

      339. As     set   forth   herein,   the   Defendants,    MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

breached said duties, demonstrating negligent and/or grossly negligent conduct.

      340. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, were negligent and/or

grossly negligent in the retention of Defendant NASSAR as an employee, agent,

and/or representative in light of their knowledge of the conduct of Defendant

NASSAR, as described herein.

      341. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, were negligent and/or

grossly negligent in the retention of Defendant NASSAR as an employee, agent,

and/or representative when after the above-identified Defendants discovered, or

reasonably should have discovered Defendant NASSAR’s conduct, which reflected

a propensity for sexual misconduct, the above-identified Defendants did not take




                                          104
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.105 Page 105 of 146



the necessary steps to terminate the employment of Defendant NASSAR and/or

ensure that Defendant NASSAR immediately stopped such conduct.

      342. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their failure to act

in accordance with the standard of care resulted in Defendant NASSAR gaining

access to and sexually abusing and/or sexually assaulting Plaintiff, JANE DOE

AC, as described herein, and an unknown number of other young individuals.

      343. The aforementioned negligence and/or gross negligence in the

credentialing, hiring, retaining, screening, checking, regulating, monitoring,

supervising, and reviewing of Defendant NASSAR created a foreseeable risk of

harm to Plaintiff, JANE DOE AC, as well as other minors and young individuals.

      344. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES       OF     MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had actual and/or

constructive knowledge of, knew and/or should have known of, and/or

demonstrated deliberate indifference towards the pattern, practice, scheme, and/or

conduct of Defendant NASSAR to sexually assault, batter, molest, harass, stalk,

and terrorize young women such as Plaintiff, JANE DOE AC, including when

these young women were minors, and failed to stop and/or prevent such conduct.


                                       105
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.106 Page 106 of 146



      345. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, demonstrated a willful

disregard for substantial and devastating risks to Plaintiff, JANE DOE AC.

      346. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, further demonstrated a

reckless disregard for Plaintiff JANE DOE AC’s health, safety, constitutional

rights, statutory rights, and common law rights with substantial disregard for

whether injury resulted to Plaintiff, JANE DOE AC.

      347. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF    MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, despite their knowledge,

failed to protect Plaintiff, JANE DOE AC, from the pattern, practice, scheme,

and/or conduct of Defendant NASSAR to sexually assault, batter, molest, harass,

stalk, and terrorize young women such as Plaintiff, JANE DOE AC, including

when these young women were minors.

      348. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and


                                       106
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.107 Page 107 of 146



SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      349. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special


                                        107
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.108 Page 108 of 146



damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

    COUNT XVIII – NEGLIGENT AND/OR GROSSLY NEGLIGENT
     FAILURE TO WARN OR PROTECT AGAINST DEFENDANTS
  MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF
 MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,
                     KOVAN, AND SIMON

      350. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      351. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had a duty of care to

warn and protect Plaintiff, JANE DOE AC, and the public in general from being

subjected to sexual assault and/or harassment on the campus of Defendant,

MICHIGAN STATE UNIVERSITY.

      352. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, also had a duty of care to

protect Plaintiff, JANE DOE AC, and the public in general from known and/or

unreasonably dangerous risks of injury on the campus of Defendant, MICHIGAN

STATE UNIVERSITY.


                                          108
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.109 Page 109 of 146



      353. In the exercise of their duties, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

had a duty to exercise due care.

      354. As     set   forth   herein,   the   Defendants,    MICHIGAN     STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

breached said duties, demonstrating negligent and/or grossly negligent conduct.

      355. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, were negligent and/or

grossly negligent in warning and/or protecting Plaintiff, JANE DOE AC, and the

public in general against the conduct of Defendant NASSAR, their employee,

agent, and/or representative, in light of their knowledge of the conduct of

Defendant NASSAR, as described herein.

      356. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF      MICHIGAN        STATE         UNIVERSITY,    MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, were negligent and/or

grossly negligent in warning and/or protecting Plaintiff, JANE DOE AC, and the

public in general against the conduct of Defendant NASSAR, their employee,


                                          109
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.110 Page 110 of 146



agent, and/or representative, when after the above-identified Defendants

discovered, or reasonably should have discovered Defendant NASSAR’s conduct,

which reflected a propensity for sexual misconduct, the above-identified

Defendants did not take the necessary steps to warn or protect against the conduct

of Defendant NASSAR and/or ensure that Defendant NASSAR immediately

stopped such conduct.

      357. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their failure to act

in accordance with the standard of care resulted in Defendant NASSAR gaining

access to and sexually abusing and/or sexually assaulting Plaintiff, JANE DOE

AC, as described herein, and an unknown number of other young individuals.

      358. The aforementioned negligence and/or gross negligence created a

foreseeable risk of harm to Plaintiff, JANE DOE AC, as well as other minors and

young individuals.

      359. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES         OF   MICHIGAN         STATE      UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, had actual and/or

constructive knowledge of, knew and/or should have known of, and/or

demonstrated deliberate indifference towards the pattern, practice, scheme, and/or


                                       110
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.111 Page 111 of 146



conduct of Defendant NASSAR to sexually assault, batter, molest, harass, stalk,

and terrorize young women such as Plaintiff, JANE DOE AC, including when

these young women were minors, and failed to stop and/or prevent such conduct.

      360. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, demonstrated a willful

disregard for substantial and devastating risks to Plaintiff, JANE DOE AC.

      361. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY,

THE BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, further demonstrated a

reckless disregard for Plaintiff JANE DOE AC’s health, safety, constitutional

rights, statutory rights, and common law rights with substantial disregard for

whether injury resulted to Plaintiff, JANE DOE AC.

      362. Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

STRAMPEL, KOVAN, and SIMON, despite their knowledge, failed to warn or

protect Plaintiff, JANE DOE AC, from the pattern, practice, scheme, and/or

conduct of Defendant NASSAR to sexually assault, batter, molest, harass, stalk,

and terrorize young women such as Plaintiff, JANE DOE AC, including when

these young women were minors.


                                       111
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.112 Page 112 of 146



      363. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      364. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an


                                         112
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.113 Page 113 of 146



amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

               COUNT XIX – FRAUDULENT CONCEALMENT
                     AGAINST ALL DEFENDANTS

      365. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      366. From approximately 1996 to September of 2016, the Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, and/or their employees, representatives, and/or agents,

represented to Plaintiff, JANE DOE AC, and the public in general that Defendant

NASSAR was a competent, safe, and highly regarded physician.

      367. By representing that Defendant NASSAR was a team physician and

athletic physician at Defendant, MICHIGAN STATE UNIVERSITY, the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, represented to Plaintiff, JANE DOE AC, and the public in

general that Defendant NASSAR was safe, trustworthy, and of high moral and
                                          113
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.114 Page 114 of 146



ethical repute and that Plaintiff, JANE DOE AC, and the public need not worry

about being harmed by Defendant NASSAR.

      368. From approximately 2007 to November of 2015, Defendant NASSAR

intentionally misrepresented to Plaintiff, JANE DOE AC, that his “medical

treatments” were appropriate and/or medically necessary to treat Plaintiff JANE

DOE AC’s back and/or ankle pain and/or injuries, when Defendant NASSAR

knew this not to be true.

      369. Defendant NASSAR intentionally used his reputation, prestige,

renown, authority, and position to carry out his pattern, practice, scheme, and/or

conduct to sexually assault, batter, molest, harass, stalk, and terrorize young

women, including Plaintiff, JANE DOE AC, including when these young women

were minors.

      370. The aforementioned representations were false when they were made.

      371. The aforementioned false representations were made with knowledge

of their falsity, with a reckless disregard for the whether injury would result, and/or

in an effort to fraudulently conceal the truth from Plaintiff, JANE DOE AC, and

the public in general.

      372. The aforementioned false representations were made with knowledge

of their falsity by Defendant NASSAR for his personal sexual gratification,

prurient interests, and/or personal financial gain.


                                          114
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.115 Page 115 of 146



      373. The aforementioned false representations were made with knowledge

of their falsity by the Defendants, MICHIGAN STATE UNIVERSITY, the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, and/or their employees, agents, and/or representatives, for

personal and/or institutional financial gain.

      374. The      Defendants,     MICHIGAN     STATE     UNIVERSITY,       the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, and/or their employees, agents, and/or representatives,

knew that the aforementioned representations were false because they had actual

and/or constructive notice and knowledge of the complaints against Defendant

NASSAR in 1999, 2000, and 2014, at least.

      375. Despite their knowledge, the Defendants, MICHIGAN STATE

UNIVERSITY, the Defendants, MICHIGAN STATE UNIVERSITY, THE

BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

agents, and/or representatives, continued to portray Defendant NASSAR as

competent and safe physician to Plaintiff, JANE DOE AC, and to the public.




                                          115
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.116 Page 116 of 146



      376. Defendant NASSAR had and was continuing his pattern, practice,

scheme, and/or conduct to sexually assault, batter, molest, harass, stalk, and

terrorize young women, including when these young women were minors.

      377. Plaintiff,   JANE     DOE    AC,   relied   on   the   aforementioned

representations when she sought medical treatment on the campus of Defendant,

MICHIGAN STATE UNIVERSITY, from Defendant NASSAR.

      378. As set forth above, details set forth in the Affidavit of Ryan Pennel,

Detective First Lieutenant with the Michigan State Police, attached as Exhibit B,

demonstrate that Defendant STRAMPEL was fully aware of Defendant

NASSAR’s pattern, practice, scheme, and/or conduct to sexually assault, batter,

molest, harass, stalk, and terrorize young women, including Plaintiff, JANE DOE

AC, including when she was a minor child, under the guise of medical treatment.

      379. In fact, as alleged in the Affidavit of Ryan Pennel, a forensic

examination of Defendant STRAMPEL’s work computer uncovered “a video of

Dr. Larry Nassar performing ‘treatment’ on a young female patient.” (See Exhibit

B, Affidavit of Ryan Pennel, at 4)

      380. Further, upon information and belief, “someone” attempted to

“delete” some of the sexually explicit material from Defendant STRAMPEL’s

work computer. (See Exhibit B, Affidavit of Ryan Pennel, at 4)




                                       116
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.117 Page 117 of 146



      381. The efforts to “delete” sexually explicit material from Defendant

STRAMPEL’s work computer demonstrates intentional and fraudulent conduct

made in an effort to continue to conceal the rampant sexual assault and harassment

on the campus of Defendant, MICHIGAN STATE UNIVERSITY.

      382. Upon information and belief, the aforementioned fraud, fraudulent

concealment, and/or intentional misrepresentations of Defendant NASSAR

occurred every day from approximately 1996 to September of 2016.

      383. Upon information and belief, the aforementioned fraud, fraudulent

concealment, and/or intentional misrepresentations of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE,, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, occurred every day

following the first complaints they received about Defendant NASSAR’s conduct

until, at least, January 19, 2018, when the Defendant, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, upon and information and

belief, finally requested the Michigan Department of Attorney General to

investigate the allegations against Defendant NASSAR that had taken place on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, for two decades. (See

Exhibit B, Affidavit in Support of Complaint of Ryan Pennel, at 1)




                                       117
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.118 Page 118 of 146



      384. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      385. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,


                                        118
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.119 Page 119 of 146



NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

COUNT XX – FRAUD, INTENTIONAL MISREPRESENTATION, AND/OR
             NEGLIGENT MISREPRESENTATION
                AGAINST ALL DEFENDANTS

      386. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      387. From approximately 1996 to September of 2016, the Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, and/or their employees, representatives, and/or agents,

represented to Plaintiff, JANE DOE AC, and the public in general that Defendant

NASSAR was a competent, safe, and highly regarded physician.

      388. By representing that Defendant NASSAR was a team physician and

athletic physician at Defendant, MICHIGAN STATE UNIVERSITY, the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,


                                          119
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.120 Page 120 of 146



KOVAN, and SIMON, represented to Plaintiff, JANE DOE AC, and the public in

general that Defendant NASSAR was safe, trustworthy, and of high moral and

ethical repute and that Plaintiff, JANE DOE AC, and the public need not worry

about being harmed by Defendant NASSAR.

      389. From approximately 2007 to November of 2015, Defendant NASSAR

intentionally misrepresented to Plaintiff, JANE DOE AC, that his “medical

treatments” were appropriate and/or medically necessary to treat Plaintiff JANE

DOE AC’s back and/or ankle pain and/or injuries, when Defendant NASSAR

knew this not to be true.

      390. Defendant NASSAR intentionally used his reputation, prestige,

renown, authority, and position to carry out his pattern, practice, scheme, and/or

conduct to sexually assault, batter, molest, harass, stalk, and terrorize young

women, including Plaintiff, JANE DOE AC, including when these young women

were minors.

      391. The aforementioned representations were false when they were made.

      392. The aforementioned false representations were made with knowledge

of their falsity and/or with a reckless disregard for the whether injury would result.

      393. The aforementioned false representations were made with knowledge

of their falsity by Defendant NASSAR for his personal sexual gratification,

prurient interests, and/or personal financial gain.


                                          120
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.121 Page 121 of 146



      394. The aforementioned false representations were made with knowledge

of their falsity by the Defendants, MICHIGAN STATE UNIVERSITY, the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, and/or their employees, agents, and/or representatives, for

personal and/or institutional financial gain.

      395. The      Defendants,     MICHIGAN     STATE     UNIVERSITY,       the

Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES

OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, STRAMPEL,

KOVAN, and SIMON, and/or their employees, agents, and/or representatives,

knew that the aforementioned representations were false because they had actual

and/or constructive notice and knowledge of the complaints against Defendant

NASSAR in 1999, 2000, and 2014, at least.

      396. Despite their knowledge, the Defendants, MICHIGAN STATE

UNIVERSITY, the Defendants, MICHIGAN STATE UNIVERSITY, THE

BOARD OF TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

agents, and/or representatives, continued to portray Defendant NASSAR as

competent and safe physician to Plaintiff, JANE DOE AC, and to the public.




                                          121
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.122 Page 122 of 146



      397. Defendant NASSAR had and was continuing his pattern, practice,

scheme, and/or conduct to sexually assault, batter, molest, harass, stalk, and

terrorize young women, including when these young women were minors.

      398. Plaintiff,   JANE     DOE    AC,   relied   on   the   aforementioned

representations when she sought medical treatment on the campus of Defendant,

MICHIGAN STATE UNIVERSITY, from Defendant NASSAR.

      399. As set forth above, details set forth in the Affidavit of Ryan Pennel,

Detective First Lieutenant with the Michigan State Police, attached as Exhibit B,

demonstrate that Defendant STRAMPEL was fully aware of Defendant

NASSAR’s pattern, practice, scheme, and/or conduct to sexually assault, batter,

molest, harass, stalk, and terrorize young women, including Plaintiff, JANE DOE

AC, including when she was a minor child, under the guise of medical treatment.

      400. In fact, as alleged in the Affidavit of Ryan Pennel, a forensic

examination of Defendant STRAMPEL’s work computer uncovered “a video of

Dr. Larry Nassar performing ‘treatment’ on a young female patient.” (See Exhibit

B, Affidavit of Ryan Pennel, at 4)

      401. Further, upon information and belief, “someone” attempted to

“delete” some of the sexually explicit material from Defendant STRAMPEL’s

work computer. (See Exhibit B, Affidavit of Ryan Pennel, at 4)




                                       122
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.123 Page 123 of 146



      402. The efforts to “delete” sexually explicit material from Defendant

STRAMPEL’s work computer demonstrates intentional and fraudulent conduct

made in an effort to continue to conceal the rampant sexual assault and harassment

on the campus of Defendant, MICHIGAN STATE UNIVERSITY.

      403. Upon information and belief, the aforementioned fraud, fraudulent

concealment, and/or intentional misrepresentations of Defendant NASSAR

occurred every day from approximately 1996 to September of 2016.

      404. Upon information and belief, the aforementioned fraud, fraudulent

concealment, and/or intentional misrepresentations of the Defendants, MICHIGAN

STATE UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE,, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, occurred every day

following the first complaints they received about Defendant NASSAR’s conduct

until, at least, January 19, 2018, when the Defendant, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, upon and information and

belief, finally requested the Michigan Department of Attorney General to

investigate the allegations against Defendant NASSAR that had taken place on the

campus of Defendant, MICHIGAN STATE UNIVERSITY, for two decades. (See

Exhibit B, Affidavit in Support of Complaint of Ryan Pennel, at 1)




                                       123
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.124 Page 124 of 146



      405. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      406. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, and/or their employees, representatives,

and/or agents, Plaintiff, JANE DOE, AC suffered personal injury, physical trauma

and distress, emotional trauma and distress, the physical manifestation of

emotional distress and/or personal injury, including but not limited to eating

disorders, weight loss, weight gain, difficulty sleeping, depression, anxiety,

irregular menstrual cycles, digestive distress, shock, embarrassment, humiliation,

loss of self-esteem, disgrace, loss of earnings and/or earning capacity, and loss of

enjoyment of life, as well as feelings of being terrorized, frightened, intimidated,

threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,


                                        124
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.125 Page 125 of 146



NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.

 COUNT XXI – VIOLATION OF MICHIGAN CONSUMER PROTECTION
  ACT AGAINST DEFENDANTS MICHIGAN STATE UNIVERSITY AND
                    MSU SportsMEDICINE

      407. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      408. The Michigan Consumer Protection Act (“MCPA”), MCL 445.901, et

seq., prohibits “[u]nfair, unconscionable, or deceptive methods, acts, or practices in

the conduct of trade or commerce[.]” MCL 445.903.

      409. The definition of “trade or commerce” in the MCPA includes “the

conduct of a business providing…service primarily for personal…purposes and

includes the advertising, solicitation, offering for sale or rent, sale, lease, or

distribution of a service…” MCL 445.902.

      410. The Defendants, MICHIGAN STATE UNIVERSITY and MSU

SportsMEDICINE, profited from Defendant NASSAR’s work as a physician.




                                          125
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.126 Page 126 of 146



         411. The Defendants, MICHIGAN STATE UNIVERSITY and MSU

SportsMEDICINE, were engaged in “trade or commerce” regulated by the MCPA

at all pertinent times hereto.

         412. On its website, Defendant, MSU SportsMEDICINE, markets itself

and holds itself out to the public as providing “quality care to…the mid-Michigan

area.”      MSU SportsMEDICINE, mse.edu, (April 6, 2018) available at

http://sportsmed.msu.edu/.

         413. Further, the website of Defendant, MSU SportsMEDICINE, states as

follows:


         We are MSU SportsMEDICINE. For over twenty years we have
         provided quality health care to MSU athletes and the mid-
         Michigan area. We are the unquestioned leader in providing non-
         operative and operative care to athletes and sport participants of
         all ages. Evaluation and diagnostic services are provided by the
         experienced staff physicians, physician assistants, and support
         staff. Utilization of athletic training services within the clinic and
         with local physical therapists, allows athletic participants an
         aggressive and comprehensive approach to return to sports and the
         performing arts.
         Comprehensive care of the injured athlete and active participant is the
         primary focus of MSU SportsMEDICINE. The staff of primary care
         and orthopedic specialists at MSU SportsMEDICINE work closely
         with primary care providers in the mid-Michigan area offering a
         referral opportunity to better serve the active recreational athletes
         regarding their injuries. Utilizing a full spectrum of ancillary health
         care providers within MSU and throughout the community, MSU
         SportsMEDICINE has taken the approach to treating the whole athlete
         as opposed to any of its parts. Sports psychiatry, nutrition,
         biomechanical analysis, manual medicine techniques, stress testing
         and body fat determinations are just a few of the avenues the sports
                                          126
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.127 Page 127 of 146



      medicine staff will utilize to enhance an athletes performance and also
      return them to play.
See id (emphasis added).
      414. According to the Defendants, MICHIGAN STATE UNIVERSITY

and MSU SportsMEDICINE, for the “past twenty years,” which includes the

duration of Defendant NASSAR’s and Defendant STRAMPEL’s employment,

Defendant, MSU SportsMEDICINE, has been the “unquestioned leader in

providing non-operative and operative care to athletes and sport participants of

all ages.” See id (emphasis added).

      415. Defendants,      MICHIGAN        STATE      UNIVERSITY        and    MSU

SportsMEDICINE, are currently advertising its services to the general public with

“[u]nfair, unconscionable, or deceptive methods, acts, or practices,” in violation of

the MCPA.

      416. Upon information and belief, the Defendants, MICHIGAN STATE

UNIVERSITY and MSU SportsMEDICINE, were advertising its services online to

Plaintiff, JANE DOE AC, and the general public using the same and/or similar

“[u]nfair, unconscionable, or deceptive methods, acts, or practices,” at all pertinent

times hereto.

      417. Upon information and belief, the Defendants, MICHIGAN STATE

UNIVERSITY and MSU SportsMEDICINE, were advertising its services to

Plaintiff, JANE DOE AC, and the general public using the same and/or similar

                                         127
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.128 Page 128 of 146



“[u]nfair, unconscionable, or deceptive methods, acts, or practices,” at all pertinent

times hereto.

      418. The statements of Defendants, MICHIGAN STATE UNIVERSITY

and MSU SportsMEDICINE, set forth above were and are knowingly “unfair,

unconscionable, [and/or] deceptive,” in violation of the MCPA in light of the

pattern, practice, scheme, and/or conduct of Defendant NASSAR to sexually

assault, batter, molest, harass, stalk, and terrorize young women, including

Plaintiff, JANE DOE AC, including when these young women were minors, under

the guise of medical treatment on the campus of Defendant, MICHIGAN STATE

UNIVERSITY, and at the offices of Defendant, MSU SportsMEDICINE.

      419. Plaintiff, JANE DOE AC, reasonably relied on the advertising and/or

reputation of the Defendants, MICHIGAN STATE UNIVERSITY and MSU

SportsMEDICINE.

      420. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY

and MSU SportsMEDICINE, was extreme, outrageous, intentional, and reckless

and carried out with intent to commit said extreme, outrageous, intentional, and

reckless conduct and/or with reckless disregard for the health, safety, or wellbeing

of Plaintiff, JANE DOE AC, or the public in general and/or which was so reckless

as to demonstrate a substantial lack of concern for whether an injury would result.




                                         128
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.129 Page 129 of 146



      421. The conduct of the Defendants, MICHIGAN STATE UNIVERSITY

and   MSU      SportsMEDICINE,        and/or   their   employees,     agents,   and/or

representatives, demonstrates intent to deceive Plaintiff, JANE DOE AC, and the

public in general.

      422. Pursuant to the MCPA, in addition to declaratory and/or injunctive

relief, a person who suffers loss as a result of a violation of the MCPA is entitled to

recover actual damages and reasonable attorney fees. See MCL 445.911.

      423. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      424. As a direct and proximate result of the conduct of the Defendants,

MICHIGAN STATE UNIVERSITY and MSU SportsMEDICINE, Plaintiff, JANE

DOE, AC suffered personal injury, physical trauma and distress, emotional trauma

and distress, the physical manifestation of emotional distress and/or personal

injury, including but not limited to eating disorders, weight loss, weight gain,

difficulty sleeping, depression, anxiety, irregular menstrual cycles, digestive

distress, shock, embarrassment, humiliation, loss of self-esteem, disgrace, loss of




                                         129
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.130 Page 130 of 146



earnings and/or earning capacity, and loss of enjoyment of life, as well as feelings

of being terrorized, frightened, intimidated, threatened, harassed, and molested.

      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against   Defendants,      MICHIGAN         STATE      UNIVERSITY          and    MSU

SportsMEDICINE, jointly and severally, in an amount in excess of $75,000 in

actual damages, in addition to an award of exemplary damages and/or treble

damages, compensatory damages, special damages, punitive damages, costs,

interest, and statutory attorney fees to which the Plaintiff is entitled, as well as any

and all equitable damages available at law, including, but not limited to,

declaratory and/or injunctive relief.

                    COUNT XXII – CONCERT OF ACTION
                       AGAINST ALL DEFENDANTS

      425. Plaintiff, JANE DOE AC, hereby restates, realleges, and incorporates

by reference paragraphs 1 through 431, as though fully set forth herein.

      426. Upon information and belief, all Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, acted tortuously and/or in a grossly negligent manner, as set forth herein,

and in accord with a common understanding or design.

      427. Upon information and belief, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE
                                          130
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.131 Page 131 of 146



UNIVERSITY, MSU SportsMEDICINE, STRAMPEL, KOVAN, and SIMON,

and/or their employees, representatives, and/or agents, knew of, should have

known of, and/or demonstrated deliberate indifference towards the pattern,

practice, scheme, and/or conduct of Defendant NASSAR to sexually assault,

batter, molest, harass, stalk, and terrorize young women such as Plaintiff, JANE

DOE AC, including when these young women were minors.

      428. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN         STATE       UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, had a duty to report and/or prevent the pattern,

practice, scheme, and/or conduct of Defendant NASSAR to sexually assault,

batter, molest, harass, stalk, and terrorize young women such as Plaintiff, JANE

DOE AC, including when these young women were minors.

      429. The Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD

OF     TRUSTEES        OF      MICHIGAN         STATE       UNIVERSITY,         MSU

SportsMEDICINE, STRAMPEL, KOVAN, and SIMON, and/or their employees,

representatives, and/or agents, failed to report and/or prevent the pattern, practice,

scheme, and/or conduct of Defendant NASSAR to sexually assault, batter, molest,

harass, stalk, and terrorize young women such as Plaintiff, JANE DOE AC,

including when these young women were minors, demonstrating conduct so


                                         131
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.132 Page 132 of 146



reckless as to demonstrate a substantial lack of concern for whether an injury

results, as well as demonstrating deliberate indifference, negligence, and gross

negligence.

      430. For the reasons set forth herein, the Defendants, MICHIGAN STATE

UNIVERSITY, THE BOARD OF TRUSTEES OF MICHIGAN STATE

UNIVERSITY, MSU SportsMEDICINE, NASSAR, STRAMPEL, KOVAN, and

SIMON, and/or their employees, representatives, and/or agents, are not entitled to

governmental immunity.

      431. As a direct and proximate result of the conduct of all Defendants,

MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES OF

MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE, NASSAR,

STRAMPEL, KOVAN, and SIMON, Plaintiff, JANE DOE, AC suffered personal

injury, physical trauma and distress, emotional trauma and distress, the physical

manifestation of emotional distress and/or personal injury, including but not

limited to eating disorders, weight loss, weight gain, difficulty sleeping,

depression, anxiety, irregular menstrual cycles, digestive distress, shock,

embarrassment, humiliation, loss of self-esteem, disgrace, loss of earnings and/or

earning capacity, and loss of enjoyment of life, as well as feelings of being

terrorized, frightened, intimidated, threatened, harassed, and molested.




                                         132
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.133 Page 133 of 146



      WHEREFORE, Plaintiff, JANE DOE AC, respectfully requests judgment

against all Defendants, MICHIGAN STATE UNIVERSITY, THE BOARD OF

TRUSTEES OF MICHIGAN STATE UNIVERSITY, MSU SportsMEDICINE,

NASSAR, STRAMPEL, KOVAN, and SIMON, jointly and severally, in an

amount in excess of $75,000 in actual damages, in addition to an award of

exemplary damages and/or treble damages, compensatory damages, special

damages, punitive damages, costs, interest, and attorney fees to which the Plaintiff

is entitled, as well as any and all equitable damages available at law, including, but

not limited to, declaratory and/or injunctive relief.




                                   Respectfully submitted,

                                   VANDEVEER GARZIA, P.C.

                                       s/ David Q. Houbeck
                                 By:____________________________
                                 DAVID Q. HOUBECK (P77002)
                                 Attorney for Plaintiff
                                 840 West Long Lake Road, Suite 600
                                 Troy, MI 48098
                                 (248) 312-2800 – phone
                                 (248) 879-0042 – facsimile
                                 dhoubeck@vgpclaw.com

DATED:       April 6, 2018




                                          133
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.134 Page 134 of 146



                       DEMAND FOR JURY TRIAL

      NOW COMES Plaintiff, JANE DOE AC, by and through her attorneys,

VANDEVEER GARZIA, P.C., and hereby demands a trial by jury in said cause.



                               Respectfully submitted,

                               VANDEVEER GARZIA, P.C.

                                    s/ David Q. Houbeck
                              By:____________________________
                              DAVID Q. HOUBECK (P77002)
                              Attorney for Plaintiff
                              840 West Long Lake Road, Suite 600
                              Troy, MI 48098
                              (248) 312-2800
                              dhoubeck@vgpclaw.com

DATED:      April 6, 2018




                                     134
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.135 Page 135 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.136 Page 136 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.137 Page 137 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.138 Page 138 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.139 Page 139 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.140 Page 140 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.141 Page 141 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.142 Page 142 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.143 Page 143 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.144 Page 144 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.145 Page 145 of 146
Case 1:18-cv-00385-GJQ-ESC ECF No. 1 filed 04/06/18 PageID.146 Page 146 of 146
